Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 1 of 53




               EXHIBIT D – SELLER DISCLOSURE LETTER
Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 2 of 53




                   SELLER DISCLOSURE LETTER

                                    to

                   ASSET PURCHASE AGREEMENT

                              by and among

                   LIMETREE BAY SERVICES, LLC,
              LIMETREE BAY REFINING HOLDINGS, LLC,
             LIMETREE BAY REFINING HOLDINGS II, LLC,
                   LIMETREE BAY REFINING, LLC,
           LIMETREE BAY REFINING OPERATING, LLC, AND
             LIMETREE BAY REFINING MARKETING, LLC,
                                as Sellers


                                  and


                        St. Croix Energy, LLLP,
                              as Purchaser



                     Dated as of December [__], 2021
       Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 3 of 53



        The following Seller Disclosure Letter (the “Disclosure Letter”) is hereby delivered by Limetree
Bay Services, LLC, a Delaware limited liability company (“LBS”), Limetree Bay Refining Holdings, LLC,
a United States Virgin Islands limited liability company (“LBRH”), Limetree Bay Refining Holdings II,
LLC, a United States Virgin Islands limited liability company (“LBRH II”), Limetree Bay Refining, LLC,
a United States Virgin Islands limited liability company (“LBR”), Limetree Bay Refining Operating, LLC,
a United States Virgin Islands limited liability company (“LBRO”), Limetree Bay Refining Marketing,
LLC, a United States Virgin Islands limited liability company (“LBRM”, along with LBS, LBRH, LBRH
II, LBR and LBRO, each a “Seller” and collectively, “Sellers”), in accordance with that certain Asset
Purchase Agreement, dated as of December [__], 2021 (the “Agreement”), by and among the Sellers and
St. Croix Energy, LLLP, a domestic limited liability partnership (the “Purchaser”).1 All capitalized terms
used but not otherwise defined herein shall have the respective meanings ascribed to such terms in
Agreement.

         No reference to or disclosure of any item or other matter in the Disclosure Letter shall be construed
as an admission or indication that such item or other matter is material (nor shall it establish a standard of
materiality for any purpose whatsoever, including as to dollar amount) or that such item or other matter is
required to be referred to or disclosed in the Disclosure Letter. The information set forth in the Disclosure
Letter is disclosed solely for the purposes of the Agreement, and no information set forth in the Disclosure
Letter shall be deemed to be an admission by any party to the Agreement to any third party of any matter
whatsoever, including any violation of Law or breach of any Contract.

        The Disclosure Letter is qualified in their entirety by reference to the specific provisions of the
Agreement referenced therein and do not constitute, and shall not be construed as constituting,
representations or warranties of the Company. Any item or other matter disclosed pursuant to any Schedule
hereto shall be deemed to be disclosed in response to each other representation and warranty in the
Agreement so long as it is reasonably apparent that such item or other matter is applicable to such other
representation or warranty.

         The Disclosure Letter and the information and disclosures contained therein are intended only to
qualify and limit the representations, warranties and covenants of the Company contained in the Agreement.
Nothing in the Disclosure Letter is intended to broaden the scope of any representation or warranty
contained in the Agreement or create any covenant. Matters reflected in the Disclosure Letter are not
necessarily limited to matters required by the Agreement to be disclosed in the Disclosure Letter. Such
additional matters are set forth for informational purposes and do not necessarily include other matters of a
similar nature. References to any documents contained in the Disclosure Letter is not intended to summarize
or describe such documents, but rather are for the existence of such documents only. All Contracts listed in
the Disclosure Letter shall be deemed to include all written appendices, exhibits, schedules, modifications,
amendments to, and all written orders, purchase orders, implementation, statements of work, program
descriptions and other documents issued under, or executed in connection with, such Contracts.

        Headings have been inserted on the separate sections of the Disclosure Letter for convenience of
reference only and shall not have the effect of amending or changing the content or meaning of the
corresponding sections as set forth in the Agreement, limiting the effect of the disclosures contained in the
Disclosure Letter or expanding the scope of the information required to be disclosed in the Disclosure
Letter.




1
  If Sellers obtain information or documentation subject to disclosure on any schedule(s) hereto, Sellers shall update
this Disclosure Letter as soon as practicable.
       Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 4 of 53



                                              Schedule 4.2(b)(ii)

                                                 No Conflicts

None.2




2
  The proposal from St. Croix Energy, LLLP indicates that no Contracts, Real Property Leases, or Business Permits
are expected to be purchased as Closing. This schedule is subject to change in the event Business Contracts, Real
Property Leases, or Business Permits will be purchased at Closing.

                                                       3
      Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 5 of 53



                                            Schedule 4.3

                                             Consents

1. Air Pollution Control Program - Authority to Construct and Permit to Operate (MARPOL Project),
   Permit No. STX-924-AC-PO-20.

2. Air Pollution Control Program - Permit to Construct and Operate, Permit No. STX-895-AC-PO-18.

3. RCRA Hazardous Waste Permit, Permit No. VID 980536080.

4. Refinery Operating Agreement, dated as of July 2, 2018, by and between the Government of the U.S.
   Virgin Islands and Limetree Bay Refining, LLC.

5. Special Solid Waste Permit to Generate and/or Store, Treat and Dispose Used Oil, Permit No. STX C-
   002.

6. Territorial Pollution Discharge Elimination System (Dated March 1, 2008), Permit No. VI0000019.

7. Title V Permit (Part 70 Operating Permit), Permit No. STX-TV-003-10.




                                                 4
         Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 6 of 53



                                                    Schedule 4.4

                                                      Property

(a)

Liens on Real Property3

Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining, LLC and
Goldman Sachs Bank USA, as collateral agent.

Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining, LLC and
The Government of the Virgin Islands.

Construction lien
Document Number: 2021002208, Office of Lieutenant Governor, USVI
Filing Date: 6/22/2021
Name of Filer: Cust-O-Fab Specialty Services, LLC

Construction lien
Document Number: 2021002207, Office of Lieutenant Governor, USVI
Filing Date: 6/22/2021
Name of Filer: Cust-O-Fab, LLC

Construction lien
Document Number: 2021002215, Office of Lieutenant Governor, USVI
Filing Date: 6/23/2021
Name of Filer: Worley Pan-American Corporation f/k/a Jacobs Pan-American Corporation

Construction lien
Document Number: 2021002096, Office of Lieutenant Governor, USVI
Filing Date: 6/15/2021
Name of Filer: Universal Plan Services (VI), LLC

Construction lien
Document Number: 2021001673, Office of Lieutenant Governor, USVI
Filing Date: 5/12/2021
Name of Filer: Inserv Field Services USVI, LLC

Construction lien
Document Number: 2021002169, Office of Lieutenant Governor, USVI
Filing Date: 5/12/2021
Name of Filer: Vivot Equipment Corporation

Construction lien
Document Number: 2021000707, Office of Lieutenant Governor, USVI
Filing Date: 3/2/21
Name of Filer: Altair Strickland V.I., LLC


3
    See Schedule D to Bankruptcy Schedules for additional information regarding construction liens.

                                                           5
      Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 7 of 53



Construction lien
Document Number: 2021002175, Office of Lieutenant Governor, USVI
Filing Date: 6/21/2021
Name of Filer: Computer Solutions, Inc. dba CosTrack Project Controls

Construction lien
Document Number: 2021001674, Office of Lieutenant Governor, USVI
Filing Date: 5/12/2021
Name of Filer: Great Southern Technologies, LLC

Construction lien
Document Number: 2021002221, Office of Lieutenant Governor, USVI
Filing Date: 6/23/2021
Name of Filer: Panametrics LLC

Construction lien
Filing Date: 6/22/2021
Name of Filer: EnerMech Mechanical Services, Inc.

Construction lien
Filing Date: February 3, 2021
Name of Filer: Cleaver-Brooks Sales and Service, Inc.

Construction lien
Name of Filer: Christiansted Equipment Ltd.

Construction lien
Name of Filer: Excel Construction & Maintenance VI

Construction lien
Name of Filer: HKA Enterprises, LLC

Construction lien
Name of Filer: Strategic Contract Resources, LLC

Construction lien
Name of Filer: V.I. Industrial Services, LLC


Limetree Bay Terminal LLC is granted certain rights, including, without limitation, the right to access the
Refinery Facilities and a non-exclusive access and easement on, over, under and across the refinery site and
certain shared premises owned by Limetree Bay Refining, LLC, pursuant to Shared Services Systems
Agreement, dated as of November 30, 2018, by and between Limetree Bay Terminals, LLC, and Limetree
Bay Refining, LLC and Limetree Bay Refining Marketing, LLC.




                                                     6
       Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 8 of 53



(b)

None.4




4
  The Sublease Agreement dated September 1, 2019, between Gulfmark Offshore, Inc. and Limetree Bay Services,
LLC, and the underlying Office Lease Agreement dated December 13, 2012, between CityCentre Partners, L.P. and
Gulfmark Offshore, Inc., as amended by First Amendment to Office Lease Agreement dated October 25, 2017, for
office space located at 842 West Sam Houston Parkway North, Houston, Texas 77024, were rejected by order of the
Bankruptcy Court on August 9, 2021 [Doc No. 347].

                                                      7
      Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 9 of 53



                                            Schedule 4.5

                                      Title to Purchased Assets


The Purchased Assets (excluded Purchased Real Property) may be subject to the following Liens:

UCC Financing Statement
Filing Date: November 30, 2018
File Number: 20180000859E, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining Holdings II, LLC
Secured Party: Goldman Sachs Bank USA, as Project Manager

UCC Financing Statement
Filing Date: February 27, 2021
File Number: 20210000109, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining Holdings, LLC
Secured Party: Wilmington Trust, National Association, as Project Collateral Agent

UCC Financing Statement
Filing Date: March 5, 2020
File Number: 20200000133, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining Marketing, LLC
Secured Party: J. Aron & Company LLC

UCC Financing Statement
Filing Date: March 5, 2020
File Number: 20200000134, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining Marketing, LLC
Secured Party: J. Aron & Company LLC

UCC Financing Statement
Filing Date: November 30, 2018
File Number: 20180000865A, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining Marketing, LLC
Secured Party: Goldman Sachs Bank USA, as Project Collateral Agent

UCC Financing Statement
Filing Date: November 30, 2018
File Number: 20180000858C, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining Operating, LLC
Secured Party: Goldman Sachs Bank USA, as Project Collateral Agent

UCC Financing Statement
Filing Date: July 21, 2020
File Number: 20200000905, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining, LLC
Secured Party: Honeywell Enraf Americas, Inc.

UCC Financing Statement
Filing Date: November 30, 2018

                                                  8
     Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 10 of 53



File Number: 20180000857B, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining, LLC
Secured Party: Goldman Sachs Bank USA, as Project Collateral Agent

UCC Financing Statement
Filing Date: July 21, 2020
File Number: 20200000904, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining, LLC
Secured Party: Honeywell Enraf Americas, Inc.

UCC Financing Statement
Filing Date: July 21, 2020
File Number: 20200000906, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining, LLC
Secured Party: Honeywell International Inc.

UCC Financing Statement
Filing Date: November 30, 2018
File Number: 20180000860G, Filed with the United States Virgin Islands, Office of Lieutenant Governor
Debtor: Limetree Bay Refining, LLC
Secured Party: The Government of the Virgin Islands

UCC Financing Statement
Filing Date: March 3, 2020
File Number: 20201564378, Delaware Department of State
Debtor: Limetree Bay Ventures, LLC
Secured Party: FS Energy and Power Fund
Amendments:
    - File Number 20204378826, Delaware Department of State; Amended to restate covered collateral
    - File Number 20204835429, Delaware Department of State; Amended to restate covered collateral
Assignment: File Number 20204379097, Delaware Department of State; Assigned to Wilmington Trust,
National Association, as Collateral Agent
*Termination Statement filed April 21, 2021, File Number 20213098622, Delaware Department of State
(NOTE: No termination by Wilmington Trust, National Association, as Collateral Agent)

UCC Financing Statement
Filing Date: March 3, 2020
File Number: 20201564543, Filed with Delaware Department of State
Debtor: Limetree Bay Ventures, LLC
Secured Party: Al Warda Investments RSC Limited
Amendment:
    - File Number 20204378727, Delaware Department of State; Amended to restate covered collateral
    - File Number 20204835361, Delaware Department of State; Amended to restate covered collateral
Assignment: File Number 20204379303, Delaware Department of State; Assigned to Wilmington Trust,
National Association, as Collateral Agent
* Termination Statement filed April 21, 2021, File Number 20213098721, Delaware Department of State
(NOTE: No termination by Wilmington Trust, National Association, as Collateral Agent)


UCC Financing Statement
Filing Date: March 3, 2020

                                                  9
        Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 11 of 53



File Number: 20201564881, Filed with Delaware Department of State
Debtor: Limetree Bay Ventures, LLC
Secured Party: EIG Limetree Debt Aggregator, L.P.
Amendment:
    - File Number 20204378909, Delaware Department of State; Amended to restate covered collateral
    - File Number 20204835312, Delaware Department of State; Amended to restate covered collateral
Assignment: File Number 20204378990, Delaware Department of State; Assigned to Wilmington Trust,
National Association, as Collateral Agent
* Termination Statement filed April 21, 2021, File Number 20213098770, Delaware Department of State
(NOTE: No termination Wilmington Trust, National Association, as Collateral Agent.)

UCC Financing Statement
Filing Date: March 3, 2020
File Number: 20201565078, Delaware Department of State
Debtor: Limetree Bay Ventures, LLC
Secured Party: Barclays Bank PLC
Amendment:
    - File Number 20204378867, Delaware Department of State; Amended to restate covered collateral
    - File Number 20204835262, Delaware Department of State; Amended to restate covered collateral
Assignment: File Number 20204379261, Delaware Department of State; Assigned to Wilmington Trust,
National Association, as Collateral Agent
* Termination Statement filed April 21, 2021, File Number 20213098820, Delaware Department of State
(NOTE: No termination by Wilmington Trust, National Association, as Collateral Agent.)

Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining, LLC and
Goldman Sachs Bank USA, as collateral agent (includes real property and personal property collateral)
Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining, LLC and
The Government of the Virgin Islands (includes real and personal property collateral)

Revolver Debt 5
Debtor: Limetree Bay Refining Marketing, LLC
Creditor: Goldman Sachs Bank USA, as Administrative Agent

Revolver Debt Guarantee6
Debtors: Limetree Bay Refining, LLC; Limetree Bay Refining Operating, LLC
Creditor: Goldman Sachs Bank USA, as Administrative Agent.

Term Debt 7
Debtor: Limetree Bay Refining Marketing, LLC
Creditor: J. Aron & Company, LLC

Term Debt Guarantee 8

5
    See Bankruptcy Schedules for additional information.
6
    See Bankruptcy Schedules for additional information.
7
    See Bankruptcy Schedules for additional information.
8
    See Bankruptcy Schedules for additional information.


                                                           10
         Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 12 of 53



Debtor: Limetree Bay Refining, LLC; Limetree Bay Refining Operating, LLC
Creditor: J. Aron & Company, LLC

Estimate Safe Harbor Agreement 9
Debtor: Limetree Bay Refining Marketing, LLC
Creditor: J. Aron & Company, LLC

Estimate Safe Harbor Agreement Guarantee 10
Debtor: Limetree Bay Refining, LLC; Limetree Bay Refining Operating, LLC
Creditor: J. Aron & Company, LLC

Term Debt 11
Debtors: Limetree Bay Refining, LLC; Limetree Bay Refining Holdings II, LLC
Creditor: Wilmington Bank, N.A.

Term Debt Guarantee 12
Debtors: Limetree Bay Refining Marketing, LLC; Limetree Bay Refining Operating, LLC
Creditor: Wilmington Bank, N.A.

Term Debt13
Debtor: Limetree Bay Refining Holdings II, LLC
Creditor: Limetree Bay Cayman II, Ltd.




9
    See Bankruptcy Schedules for additional information.
10
     See Bankruptcy Schedules for additional information.
11
     See Bankruptcy Schedules for additional information.
12
     See Bankruptcy Schedules for additional information.
13
     See Bankruptcy Schedules for additional information.


                                                            11
         Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 13 of 53



                                                    Schedule 4.6

                                              Affiliate Transactions

       1. Catalyst Purchase and Sale Agreement, dated as of March 3, 2020, by and between Limetree Bay
          Refining Marketing, LLC and Limetree Bay Refining, LLC.

       2. Shared Catalyst Agreement, dated as of March 3, 2020, by and between Limetree Bay Refining
          Marketing, LLC and Limetree Bay Refining, LLC.

       3. Shared Services Systems Agreement, dated as of November 30, 2018, by and between Limetree
          Bay Terminals, LLC, and Limetree Bay Refining, LLC and Limetree Bay Refining Marketing,
          LLC.

       4. Subordinated Note, by and between Limetree Bay Refining, LLC and Limetree Bay Ventures, LLC,
          issued September 17, 2020.

       5. Terminal Services Agreement (Included Locations), dated as of March 3, 2020, by and among
          Limetree Bay Terminals, LLC, Limetree Bay Refining Marketing, LLC, and J. Aron & Company
          LLC.

       6. Terminal Services Agreement (Not Included Locations), dated as of March 3, 2020, by and among
          Limetree Bay Terminals, LLC, and Limetree Bay Refining Marketing, LLC.

       7. Term Debt, Debtor: Limetree Bay Refining Holdings II, LLC, Creditor: Limetree Bay Cayman II,
          Ltd.14




14
     See Bankruptcy Schedules for additional information.

                                                            12
       Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 14 of 53



                                               Schedule 4.7

                                           Material Contracts

(a)

(i)

      1. 2002 Master Agreement – ISDA, dated as of January 18, 2019, by and between Limetree Bay
         Refining, LLC and J. Aron & Company LLC.

      2. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and Al
         Warda Investments RSC Limited.

      3. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC, and
         Barclays Bank PLC.

      4. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and
         GEPIF II Limetree Holdings LP.

      5. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and EIF
         Limetree Debt Aggregator, L.P.

      6. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and FS
         Energy and Power Fund.

      7. Amended and Restated Depositary and Intercreditor Agreement, dated as of March 3, 2020, by and
         among Limetree Bay Refining, LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay
         Refining Operating, LLC, Goldman Sachs Bank USA, J. Aron & Company LLC, and Deutsche
         Bank Trust Company.

      8. Amended and Restated Pledge Agreement, dated as of June 24, 2020, by and between Limetree
         Bay Ventures, LLC, Wilmington Trust, National Association and Additional Noteholders.

      9. Amended and Restated Tolling Agreement, dated as of February 22, 2021, by and among Limetree
         Bay Refining, LLC, Limetree Bay Refining Marketing, LLC, and BP Products North America, Inc.

      10. Amendment Adopting, Incorporating and Amending the ISDA March 2013 DF Supplement, dated
          as of January 18, 2019, by and between J. Aron & Company, LLC, and Limetree Bay Refining,
          LLC.

      11. Appointment of Agent for Service of Process Agreement, dated as of March 3, 2020, by and among
          Cogency Global Inc., Limetree Bay Refining, LLC, Limetree Bay Refining Marketing, LLC,
          Limetree Bay Refining Operating, LLC.

      12. Bailee’s Letter, dated as of March 3, 2020, by and between J. Aron and Limetree Bay Refining
          Marketing, LLC.

      13. Borrowing Notice, by and between Limetree Bay Refining Marketing, LLC, and J. Aron &
          Company LLC.


                                                    13
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 15 of 53



14. BP-LBRM Side Agreement, dated as of March 3, 2020, by and between BP Products North
    America Inc. and Limetree Bay Refining Marketing, LLC.

15. Catalyst Purchase and Sale Agreement, dated as of March 3, 2020, by and between Limetree Bay
    Marketing, LLC and Limetree Bay Refining, LLC.

16. Collateral Agency and Intercreditor Agreement, dated as of November 20, 2018, by and among
    Limetree Bay Refining, LLC, a U.S. Virgin Islands limited liability company, Limetree Bay
    Refining Holdings II, LLC, a U.S. Virgin Islands limited liability company, Limetree Bay Refining
    Marketing, a U.S. Virgin Islands limited liability company, Limetree Bay Refining Operating,
    LLC, a U.S. Virgin Islands limited liability company, the Lenders from time To time party to the
    agreement, Goldman Sachs Bank USA, as Administrative Agent for the Term Lenders, Goldman
    Sachs Bank USA, as Administrative Agent for the Revolving Lenders, Goldman Sachs Bank USA,
    as Project Collateral Agent and any Person who signs a joinder and becomes a party to the
    agreement from time to time, as amended by Sixth Omnibus Amendment, dated as of April 16,
    2021, by and between, Limetree Bay Refining, LLC (as borrower), Limetree Bay Refining
    Holdings II, LLC (as holdings), Limetree Bay Refining Marketing, LLC and Limetree Bay
    Refining Operating, LLC (as guarantors), Limetree Bay Refining Holdings, LLC (as pledgor),
    Goldman Sachs Bank USA (as administrative agent), the lenders, Wilmington Trust, National
    Association.

17. Consulting Services Agreement, dated as of January 9, 2020, by and between Embark Consulting
    LLC and Limetree Bay Refining, LLC.

18. Credit Agreement, dated as of November 20, 2018, by and between Limetree Bay Refining
    Marketing, LLC, Limetree Bay Refining Holdings II, LLC, Limetree Bay Refining Operating,
    LLC, Limetree Bay Refining, LLC, and Goldman Sachs Bank USA, as amended by Amendment
    Omnibus Amendment and Waiver, dated as of November 27, 2019, as further amended by Second
    Omnibus Amendment and Waiver, dated as of February 20, 2020, as further amended by
    Amendment No. 3, dated as of March 3, 2020, as further amended by Amendment No. 4, dated as
    of September 30, 2020, as further amended by Amendment No. 5, dated as of December 31, 2020,
    and as further amended by the Sixth Omnibus Amendment, dated as of April 16, 2021.

19. Credit Agreement, dated as of December 24, 2020, by and among Wilmington, Trust, National
    Association, Limetree Bay Refining Holdings II, LLC, Limetree Bay Refining Holdings, LLC and
    the Lenders from time to time party hereto.

20. Deposit Control Account Agreement dated as of January 24, 2019, among Limetree Bay Refining,
    LLC, a U.S. Virgin Islands limited liability company, Limetree Bay Refining Operating, LLC, a
    U.S. Virgin Islands limited liability company, The Bank of Nova Scotia, U.S. Virgin Islands Branch
    (as the Depositary Bank) and Goldman Sachs Bank USA (the Project Collateral Agent acting on
    behalf of certain project secured parties).

21. Fee Letter, dated as of March 3, 2020, by and between J. Aron & Company, LLC, and Limetree
    Bay Refining Marketing, LLC.

22. Financing Agreement, dated as of March 3, 2020, by and between J. Aron & Company, LLC, and
    Limetree Bay Refining Marketing, LLC.

23. Funding Letter Agreement, dated as of March 3, 2020, from Limetree Bay Refining Marketing,
    LLC to J. Aron & Company.

                                               14
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 16 of 53




24. Interparty Sharing Agreement, dated as of June 11, 2020, by and among Limetree Bay Ventures,
    LLC, the Term Lenders from time to time party hereto, Goldman Sachs Bank USA, and
    Wilmington Trust, National Association, as amended by Consent and Amendment No. 1, dated as
    of October 26, 2020.

25. Intermediation Facilitation Agreement, dated as of March 3, 2020, by and among Limetree Bay
    Refining Marketing, LLC, J. Aron & Company LLC, and BP Products North America Inc.

26. Inventory Sales Agreement, dated as of March 3, 2020, by and between J. Aron & Company LLC
    and Limetree Bay Refining Marketing, LLC.

27. Limited Assignment Agreement, dated as of March 3, 2020, by and among BP Products North
    America Inc., Limetree Bay Refining Marketing, LLC, Limetree Bay Terminals, LLC, and J. Aron
    & Company LLC.

28. Marketing and Sales Agreement, dated as of March 3, 2020, by and between J. Aron & Company
    LLC, and Limetree Bay Refining Marketing, LLC.

29. Master Buy/Sell Confirmation, by and between Limetree Bay Refining Marketing, LLC, and J.
    Aron & Company LLC.

30. Monetization Master Agreement, dated as of March 3, 2020, by and among J. Aron & Company
    LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay Refining, LLC, and Limetree Bay
    Refining Operating, LLC.

31. Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining,
    LLC and Goldman Sachs Bank USA, as collateral agent.

32. Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining,
    LLC and The Government of the Virgin Islands.

33. Omnibus Amendment to BP Agreements, dated as of March 3, 2020 by and between Limetree Bay
    Refining Marketing, LLC, BP Products North America Inc, and Limetree Bay Refining, LLC.

34. Pledge Agreement, dated as of November 20, 2018, among Limetree Bay Refining Holdings II,
    LLC, limited liability company, and Goldman Sachs Bank USA LLC, in its capacity as collateral
    agent for the Project Secured Parties.

35. Pledge Agreement dated as of February 22, 2021, by and between Limetree Bay Refining
    Holdings, LLC and Wilmington Trust, National Association.

36. Promissory Note, dated as of April 17, 2020, by and between Oriental Bank and Limetree Bay
    Refining Operating LLC (Paycheck Protection Program).

37. Promissory Note, dated as of April 27, 2018, by and between Limetree Bay Refining, LLC, and
    K+S Potash Canada General Partnership -- Limetree promises to pay K+S the principal sum of
    $21,000,000.00 in monthly installments of $250,000 commencing on May 1, 2018 for 84 months.




                                             15
        Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 17 of 53



       38. Refinery Facilities Agreement, dated as of March 3, 2020, by J. Aron & Company LLC, Limetree
           Bay Refining Marketing, LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay Refining,
           LLC, and Limetree Bay Refining Operating, LLC.

       39. Security Agreement, dated as of November 20, 2018, among Limetree Bay Refining, LLC, a U.S.
           Virgin Islands limited liability company, Limetree Bay Refining Marketing, LLC, Limetree Bay
           Refining Operating, LLC and Goldman Sachs Bank USA, in its capacity as collateral agent under
           the Intercreditor Agreement referred to in the agreement.

       40. Security Agreement, dated as of March 3, 2020, by and between J. Aron & Company LLC and
           Limetree Bay Refining Marketing, LLC (Relates to Monetization Master Agreement and Financing
           Agreement, dated as of March 3, 2020, between J. Aron & Company LLC; and Limetree Bay
           Refining Marketing, LLC.

       41. Senior Secured Superpriority Debtor in Possession Credit Agreement, dated as of July 13, 2021,
           by and among Limetree Bay Refining, LLC, Limetree Bay Refining Holdings II, LLC, Limetree
           Bay Refining Holdings LLC, Limetree Bay Services, LLC, Limetree Bay Refining Marketing,
           LLC, Limetree Bay Refining Operating, LLC, and 405 Sentinel, LLC.

       42. Shared Catalyst Agreement, dated as of March 3, 2020, by and between Limetree Bay Marketing,
           LLC and Limetree Bay Refining, LLC.

       43. Subordinated Note, by and between Limetree Bay Refining, LLC and Limetree Bay Ventures, LLC.

       44. Supply and Offtake Agreement, dated as of March 3, 2020, by and between J. Aron & Company
           LLC, and Limetree Bay Refining Marketing, LLC.

       45. Term Credit Agreement dated as of February 22, 2021, among Limetree Bay Refining Holdings,
           LLC, Limetree Bay Refining Holdings II, LLC, the lenders from time to time thereunder, and
           Wilmington Trust, National Association, as administrative agent and collateral agent.

(ii)

       1. Amended and Restated Pledge Agreement, dated as of June 24, 2020, by and between Limetree
          Bay Ventures, LLC, Wilmington Trust, National Association and Additional Noteholders.

       2. Credit Agreement, dated as of November 20, 2018, by and between Limetree Bay Refining
          Marketing, LLC, Limetree Bay Refining Holdings II, LLC, Limetree Bay Refining Operating,
          LLC, Limetree Bay Refining, LLC, and Goldman Sachs Bank USA, as amended by Amendment
          Omnibus Amendment and Waiver, dated as of November 27, 2019, as further amended by Second
          Omnibus Amendment and Waiver, dated as of February 20, 2020, as further amended by
          Amendment No. 3, dated as of March 3, 2020, as further amended by Amendment No. 4, dated as
          of September 30, 2020, as further amended by Amendment No. 5, dated as of December 31, 2020,
          and as further amended by the Sixth Omnibus Amendment, dated as of April 16, 2021.

       3. Financing Agreement, dated as of March 3, 2020, by and between J. Aron & Company, LLC, and
          Limetree Bay Refining Marketing, LLC.

       4. Letter of Contract, dated as of December 21, 2018, by and between Limetree Bay Refining, LLC,
          and Honeywell International, Inc.


                                                    16
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 18 of 53



5. Marketing and Sales Agreement, dated as of March 3, 2020, by and between J. Aron & Company
   LLC, and Limetree Bay Refining Marketing, LLC.

6. Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining,
   LLC and Goldman Sachs Bank USA, as collateral agent.

7. Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining,
   LLC and The Government of the Virgin Islands.

8. Professional Services Agreement, dated as of August 6, 2018, by and between Limetree Bay
   Refining Operating, LLC, and Strategic Contract Resources, LLC.

9. Professional Services Agreement, dated as of May 23, 2018, by and between Limetree Bay
   Refining Operating, LLC, and Computer Solutions, Inc. dba CosTrack Project Controls, as
   amended by Addendum No. 1, dated as of October 1, 2018.

10. Project Agreement, dated as of June 22, 2020, by and between Limetree Bay Refining, LLC, and
    Honeywell Enraf Americas, Inc.

11. Refinery Facilities Agreement, dated as of March 3, 2020, by and among J. Aron & Company LLC,
    Limetree Bay Refining Marketing, LLC, Limetree Bay Refining, and Limetree Bay Refining
    Operating, LLC.

12. Refinery Start-up Project Agreement, dated as of July 31, 2018, by and between Limetree Bay
    Refining, LLC, and Honeywell International, Inc., as amended by Amendment No. 1, dated as of
    September 10, 2018.

13. Refinery Operating Agreement, dated as of July 2, 2018, by Limetree Bay Refining, LLC (as
    Refinery Operator); and Government of U.S. Virgin Islands.

14. Pledge Agreement, dated as of November 20, 2018, among Limetree Bay Refining Holdings II,
    LLC, limited liability company, and Goldman Sachs Bank USA LLC, in its capacity as collateral
    agent for the Project Secured Parties.

15. Pledge Agreement dated as of February 22, 2021, by and between Limetree Bay Refining Holdings,
    LLC and Wilmington Trust, National Association.

16. Security Agreement, dated as of November 20, 2018, among Limetree Bay Refining, LLC, a U.S.
    Virgin Islands limited liability company, Limetree Bay Refining Marketing, LLC, Limetree Bay
    Refining Operating, LLC and Goldman Sachs Bank USA, in its capacity as collateral agent under
    the Intercreditor Agreement referred to in the agreement.

17. Security Agreement, dated as of March 3, 2020, by and between J. Aron & Company LLC and
    Limetree Bay Refining Marketing, LLC (Relates to Monetization Master Agreement and Financing
    Agreement, dated as of March 3, 2020, between J. Aron & Company LLC; and Limetree Bay
    Refining Marketing, LLC.

18. Supply and Offtake Agreement, dated as of March 3, 2020, by and between J. Aron & Company
    LLC, and Limetree Bay Refining Marketing, LLC.



                                             17
         Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 19 of 53



        19. Term Services Agreement, dated as of April 30, 2019, by and between Limetree Bay Refining,
            LLC, and Cust-O-Fab Specialty Services, LLC.

        20. Term Services Agreement, dated as of July 2, 2018, by and between Limetree Bay Refining, LLC,
            and Elite Turnaround Specialists, Ltd., as amended by Addendum No. 1, dated as of October 1,
            2018, as further amended by Addendum No. 2, dated as of January 1, 2019, as further amended by
            Addendum No. 3, dated as of July 1, 2019, and as further amended by Addendum No. 4, dated as
            of January 1, 2021.

        21. Term Services Agreement, dated as of June 20, 2018, by and between Limetree Bay Refining, LLC,
            and InServ Field Services USVI, LLC, amended by Addendum No. 1, dated as of October 1, 2018,
            as further amended by Addendum 1a, dated as of February 11, 2019, as further amended by
            Addendum No. 2, dated as of October 31, 2019, as further amended by Addendum No. 3, dated as
            of October 31, 2019, and as further amended by Addendum No. 5, dated as of January 1, 2021.

        22. Term Services Agreement, dated as of June 11, 2018, by and between Limetree Bay Refining
            Operating, LLC, and Vivot Equipment Corporation, Inc., as amended by Addendum No. 1, dated
            as of October 1, 2018, as further amended by Addendum Attachment No. 1, dated as of August 22,
            2018, as further amended by Addendum No. 2, dated as of June 11, 2018, as further amended by
            Addendum No. 3, dated as of April 2, 2019, as further amended by Addendum No. 4, dated as of
            July 26, 2019, as further amended by Addendum No. 5, dated as of September 5, 2019 (not signed
            by either party), as further amended by Addendum No. 6, dated as of November 7, 2019, as further
            amended by Addendum No. 7, dated as of January 29, 2020, as further amended by Addendum No.
            8, dated as of December 23, 2019, as further amended by Addendum No. 9, dated as of September
            21, 2020, and as further amended by Addendum No. 10, dated as of February 1, 2020.

        23. Term Services Agreement, dated as of July 16, 2018, by and between Limetree Bay Refining, LLC,
            and AltairStrickland V.I., LLC, as amended by Addendum No. 1, dated as of October 1, 2018, and
            as further amended by Addendum No. 2, as dated of December 5, 2018.

        24. Term Services Agreement, dated as of June 15, 2019, by and between EnerMech Mechanical
            Services, Inc.

        25. Term Services Agreement, dated as of August 9, 2018, by and between Limetree Bay Refining,
            LLC, and Christiansted Equipment, Ltd., as amended by Addendum No. 1, dated as of October 1,
            2018, and as further amended by Addendum No. 2, dated as of April 1, 2020.

        26. Term Services Agreement, dated as of February 21, 2019, by and between Limetree Bay Refining,
            LLC, and Universal Plant Services (VI), LLC, as amended by Addendum 1, dated April 30, 2019,
            and further amended by Addendum 2, dated as of August 4, 2019, and further amended by
            Amendment and Joinder, dated as of September 16, 2019.

(iii)

        1. Consulting Services Agreement, dated as of September 9, 2019, by and between HSB Solomon
           Associates LLC and Limetree Bay Refining, LLC.

        2. Consulting Services Agreement, dated as of January 9, 2020, by and between Embark Consulting
           LLC and Limetree Bay Refining, LLC.



                                                      18
         Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 20 of 53



       3. Consulting Agreement, dated as of October 29, 2019, by and between Consultants in Data
          Processing, Inc. and Limetree Bay Refining LLC.

       4. Feedstock Supply Agreement, dated as of November 15, 2018, by and between BP Products North
          America Inc. and Limetree Bay Refining Marketing, LLC.

       5. KnowBe4 Security Awareness Training Subscription Diamond, dated as of May 12, 2020, by and
          between Broadleaf Group and Limetree Bay Refining, LLC.

       6. Letter of Proposal, dated as of March 22, 2021, by and between Stanton Chase and Limetree Bay.

       7. Master Consignment Agreement, dated as of March 9, 2021, by and between NRI Industrial Sales
          LLC, and Limetree Bay Refining, LLC.

       8. Master Services Agreement, dated as of July ___, 2018, by and between Technology Spa, LLC and
          Limetree Bay Refining, LLC.

       9. Master Services Agreement, dated as of August 27, 2020, by and between CADENCE
          SOLUTIONS INC. and Limetree Bay Refining, LLC.

       10. Master Subscription License Agreement, dated as of November 25, 2019, by and between
           Prometheus Group Enterprises, LLC and Limetree Bay Refining, LLC.

       11. PAS Terms and Conditions for Services, by and between PAS Global, LLC and Limetree Bay
           Refining, LLC.

       12. Product Offtake Agreement, dated as of November 15, 2018, by and between BP Products North
           America Inc. and Limetree Bay Refining Marketing, LLC, as amended from time to time.

       13. Professional Services Agreement, dated as of February 5, 2020, by and between Faithful + Gould,
           Inc. and Limetree Bay Refining, LLC.

       14. Proposal LBR-2019/001, dated as of September 18, 2019, by and between ZeoNet Inc. and
           Limetree Bay Refining, LLC.

       15. Services Agreement, dated as of January 29, 2020, by and between Akili, Inc. and Limetree Bay
           Refining, LLC.
       16. Terms and Conditions, dated as of ___, by and between PAS Global, LLC (“PAS”) and _____ (Not
           Executed).
           15
(iv)

       1. Addendum No. 1 to Short-Form Services Agreement effective August 1, 2020, among Virgin
          Island Paving Inc. and Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC.

       2. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and Al
          Warda Investments RSC Limited.*



15
     NTD: Asterisk indicates contracts we believe have potential outstanding payments due over $100,000.

                                                         19
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 21 of 53



3. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC, and
   Barclays Bank PLC.*

4. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and
   GEPIF II Limetree Holdings LP.*

5. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and EIF
   Limetree Debt Aggregator, L.P.*

6. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and FS
   Energy and Power Fund.*

7. Agreement and Service Terms, by and between Siemens Industry, Inc. and Limetree Bay Refining,
   LLC.*

8. Agreement between Limetree Bay Operating LLC, and Jacobs Pan-American Corporation (now
   Worley Pan-American Corporation); Letter Agreement by and between Jacobs Field Services
   North America, Inc., Jacobs Pan-American Corporation, and Limetree Bay Terminals, LLC, dated
   as of January 25, 2018; Amendment No. 1 to Agreement for Provisions of Engineering,
   Procurement and Construction Management Services by and between Jacobs Pan-American
   Corporation and Limetree Bay Refining, LLC, dated as of October 8, 2018; Second Amendment to
   Engineering, Procurement & Construction Management Agreement by and between Worley Pan-
   American Corporation and Limetree Bay Refining, LLC, dated as of February 1, 2021.*

9. Amended and Restated Pledge Agreement, dated as of June 24, 2020, by and between Limetree
   Bay Ventures, LLC, Wilmington Trust, National Association and Additional Noteholders.*

10. Broker’s Agreement, dated as of May 26, 2020 by and between Vital Industrial Solutions Corp.
    and Limetree Bay Refining, LLC. *

11. Credit Agreement, dated as of December 24, 2020, by and among Wilmington, Trust, National
    Association, Limetree Bay Refining Holdings II, LLC, Limetree Bay Refining Holdings, LLC and
    the Lenders from time to time party hereto.

12. Credit Agreement, dated as of November 20, 2018, by and between Limetree Bay Refining
    Marketing, LLC, Limetree Bay Refining Holdings II, LLC, Limetree Bay Refining Operating,
    LLC, Limetree Bay Refining, LLC, and Goldman Sachs Bank USA, as amended by Amendment
    Omnibus Amendment and Waiver, dated as of November 27, 2019, as further amended by Second
    Omnibus Amendment and Waiver, dated as of February 20, 2020, as further amended by
    Amendment No. 3, dated as of March 3, 2020, as further amended by Amendment No. 4, dated as
    of September 30, 2020, as further amended by Amendment No. 5, dated as of December 31, 2020,
    and as further amended by the Sixth Omnibus Amendment, dated as of April 16, 2021.

13. Construction Services Agreement, dated as of December 12, 2019, by and between nVent Thermal,
    LLC and Limetree Bay Refining, LLC.*

14. Consulting Agreement, dated as of January 14, 2019, by and between Limetree Bay Refining, LLC,
    and Rocco Colabella, as amended by Addendum No. 1, dated as of April 29, 2019, as further
    amended by Addendum No. 2, dated as of December 16, 2019, as further amended by Addendum
    No. 3, dated as of August 5, 2020, as further amended by Addendum No. 4, dated as of
    September 22, 2020, and as further amended by Addendum No. 5, dated as of December 29, 2020.*

                                             20
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 22 of 53



15. Consulting Services Agreement, dated as of February 28, 2020, by and between NAES Corporation
    and Limetree Bay Refining, LLC.

16. Contract for Purchase and Sale of Equipment and Support Services, dated as of November 9, 2018,
    by and between Flowserve U.S., Inc. and Limetree Bay Refining, LLC.

17. Contract for Purchase and Sale of Equipment and Support Services dated November 1, 2018, by
    and between Limetree Bay Refining, LLC and Chalmers and Kubeck, Inc.; Term Services
    Agreement dated August 21, 2018 between Limetree Bay Refining, LLC, and Chalmers and
    Kubeck, Inc.

18. Continuing Technical Services Agreement, dated May 28, 2021, by and between Bechtel
    Hydrocarbon Technology Solutions, Inc. and Limetree Bay Refining, LLC.*

19. DIP Note, dated as of July 13, 2021, by and between Limetree Bay Refining, LLC, and 405 Sentinel
    LLC.

20. Engagement Letter, dated as of February 1, 2019, by and between Limetree Bay Refining, LLC,
    and DHR International, Inc.*

21. Engineering Services Agreement, dated as of August 6, 2019, by and between Sargent & Lundy,
    L.L.C. and Limetree Bay Refining, LLC.*

22. Engineering Services Agreement, dated as of October 25, 2019, by and between J&W Virgin
    Islands, LLC and Limetree Bay Refining, LLC.*

23. Engineering Services Agreement, dated as of January 1, 2020, by and among Becht Engineering
    Co., Inc., Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC.

24. Engineering Services Agreement, dated as of October 2018, by and between Limetree Bay
    Refining, LLC, and H&K Engineering, LLC, as amended by Addendum No. 1, dated as of April
    9, 2019, as further amended by Addendum No. 2, dated as of October 13, 2020, and as further
    amended by Addendum No. 3, dated as of April 20, 2021.

25. Equipment Lease Agreement, dated as of September 6, 2019, by and between Evoqua Water
    Technologies LLC and Limetree Bay Refining, LLC.

26. Estimate Safe Harbor Agreement; Debtor: Limetree Bay Refining Marketing, LLC; Creditor: J.
    Aron & Company, LLC.

27. Estimate Safe Harbor Agreement Guarantee; Debtor: Limetree Bay Refining, LLC; Limetree Bay
    Refining Operating, LLC; Creditor: J. Aron & Company, LLC.

28. Interparty Sharing Agreement, dated as of June 11, 2020, by and among Limetree Bay Ventures,
    LLC, the Term Lenders from time to time party hereto, Goldman Sachs Bank USA, and
    Wilmington Trust, National Association, as amended by Consent and Amendment No. 1, dated as
    of October 26, 2020.

29. Laboratory Services Agreement, dated as of June 1, 2019, by and among Intertek USA, Inc.,
    Limetree Bay Refining, LLC, Limetree Bay Terminals, LLC, as amended by Amendment No. 1,
    dated as of September 1, 2020.*

                                              21
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 23 of 53



30. Letter of Contract, dated as of December 21, 2018, by and between Limetree Bay Refining, LLC,
    and Honeywell International, Inc.

31. License Agreement, dated as of November 21, 2018, by and between Limetree Bay Refining, LLC
    and Axens North America, Inc.

32. Managed Inventory and On-Site Services Agreement, dated as of August 28, 2019, by and between
    Nalco U.S. 2 Inc. and Limetree Bay Refining, LLC.*

33. Master Agreement for Sale of Scrap Metal dated September 2, 2020, among V.I. Recycling
    Company, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC.

34. Master Charter Agreements, dated as of May 1, 2020, by and between Sun Country Inc. and
    Limetree Bay Refining LLC. *

35. Master Equipment Lease Agreement, dated as of July 8, 2019, by and among F&M MAFCO, Inc.,
    Limetree Bay Terminals LLC and Limetree Bay Refining LLC.*

36. Master Information Technology Services Agreement, dated as of May 9, 2019, by and between
    Limetree Bay Refining, LLC, and DYONYX, LP.

37. Master Lease Agreement, dated as of August 15, 2019, by and between Weldship Industries, Inc.
    and Limetree Bay Refining, LLC.

38. Master Purchase and Sale Agreement for Equipment and Material, dated as of September 12, 2018,
    by and between Limetree Bay Refining, LLC, and John Crane, Inc.; Master Purchase and Sale
    Agreement for Equipment and Material, dated as of September 12, 2018, by and between Limetree
    Bay Terminals, LLC, and John Crane, Inc.; Term Services Agreement, dated as of September 14,
    2018, by and between Limetree Bay Refining, LLC, and John Crane, Inc., as amended by
    Addendum No. 1, dated as of October 1, 2018.

39. Master Purchase and Sale Agreement, dated as of February 5, 2019, by and between Limetree Bay
    Refining, LLC, and Gas Turbine Parts & Services.

40. Master Services Agreement, dated as of April 1, 2020, by and between Mission Secure Inc. and
    Limetree Bay Refining, LLC.

41. Master Services Agreement, dated as of July ___, 2018, by and between Technology Spa, LLC and
    Limetree Bay Refining, LLC.

42. Medical Service Agreement, dated as of April 15, 2018, by and between Plessen Healthcare, LLC
    and Limetree Bay Refining, LLC.*

43. Master Subscription License Agreement, dated as of November 25, 2019, by and between
    Prometheus Group Enterprises, LLC and Limetree Bay Refining, LLC.*

44. Master Purchase and Sale Agreement, dated as of December 11, 2018, by and between Limetree
    Bay Refining, LLC, and Control Associates Puerto Rico, LLC d/b/a Control Associates Caribe, as
    amended by Services Addendum No. 1, dated as of September 5, 2019, as further amended by
    Services Addendum No. 2, dated as of October 24, 2019.


                                             22
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 24 of 53



45. Master Purchase and Sale Agreement for Materials and Chemicals, dated as of August 28, 2019,
    by and between Nalco U.S. 2 Inc. and Limetree Bay Refining, LLC.*

46. Master Purchase and Sale Agreement for Equipment or Material, dated as of February 13, 2019,
    by and between Limetree Bay Refining, LLC, and Daily Thermetrics Corporation , as amended by
    Services Addendum No. 1, dated as of October 31, 2019, and as further amended by Services
    Addendum No. 2, dated as of September 21, 2020.

47. Master Equipment Purchase and Sale Agreement, dated as of December 3, 2018, by and between
    Cleaver-Brooks Sales and Service, Inc. and Limetree Bay Refining, LLC.

48. Master Purchase and Sale Agreement for Equipment or Material by and between Cust-O-Fab, LLC
    and Limetree Bay Refining, LLC, dated as of March 27, 2019.*

49. Master Services Agreement, dated as of August 21, 2019, by and between Mammoet USA South,
    Inc. and Limetree Bay Refining, LLC.

50. Monetization Master Agreement, dated as of March 3, 2020, by and among J. Aron & Company
    LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay Refining, LLC, and Limetree Bay
    Refining Operating, LLC.*

51. National Account Agreement, dated as of September 4, 2018, by and between Limetree Bay
    Refining, LLC, and URVI, Inc.

52. Petroleum Coke and Sulphur Services Agreement, dated July 10, 2019, by and between Savage St.
    Croix, LLC and Limetree Bay Refining, LLC.

53. Process Book Supply Agreement, dated as of November 21, 2018, by and between Limetree Bay
    Refining, LLC, and Axens North America, Inc., as amended by Addendum No. 1, dated as of
    December 4, 2018.*

54. Promissory Note, dated as of April 17, 2020, by and between Oriental Bank and Limetree Bay
    Refining Operating LLC.

55. Professional Services Agreement, dated as of February 5, 2018, by and between Turnaround
    Consulting Services, LLC and Limetree Bay Terminals, LLC, as amended by Amendment and
    Joinder, joining Limetree Bay Refining, LLC, dated as of April 12, 2021.

56. Professional Services Agreement, dated as of January 1, 2021, by and between Limetree Bay
    Refining, LLC, and ERP Software Services, LLC.

57. Professional Services Agreement, dated as of September 20, 2019, by and between FastGrid LLC
    and Limetree Bay Refining, LLC.*

58. Professional Services Agreement, dated as of February 7, 2019, by and between Limetree Bay
    Refining, LLC and Antillean Engineers, Inc.*

59. Professional Services Agreement, dated as of May 23, 2018, by and between Limetree Bay
    Refining Operating, LLC, and Computer Solutions, Inc. dba CosTrack Project Controls, as
    amended by Addendum No. 1, dated as of October 1, 2018.


                                             23
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 25 of 53



60. Professional Services Agreement, by and between Telaxe Inc. and Limetree Bay Refining, LLC.

61. Professional Services Contract, dated as of December ___, 2018, by and between Complan USA
    LLC and Limetree Bay Refining, LLC.

62. Professional Services Agreement, dated as of August 6, 2018, by and between Limetree Bay
    Refining Operating, LLC, and Strategic Contract Resources, LLC.

63. Professional Services Agreement, dated as of October 17, 2017, by and between Pinnacle Asset
    Integrity Services, LLC dba PinnacleART and Limetree Bay Terminals, LLC.

64. Professional Services Agreement, dated as of August 30, 2019, by and between Limetree Bay
    Terminals, LLC and RTP Environmental Associates, Inc., as amended by Amendment and Joinder
    Agreement, dated as of December 6, 2019, between RTP Environmental Associates, Inc. and
    Limetree Bay Refining, LLC and Limetree Bay Terminal, LLC.

65. Professional Services Agreement, dated as of June 2, 2021, by and between Sulphur Experts Inc.
    and Limetree Bay Refining, LLC

66. Project Agreement, dated as of June 22, 2020, by and between Limetree Bay Refining, LLC, and
    Honeywell Enraf Americas, Inc.

67. Proposal LBR-2019/001, dated as of September 18, 2019, by and between ZeoNet Inc. and
    Limetree Bay Refining, LLC.

68. Purchase and Sale of Equipment and Support Services by and between Great Southern
    Technologies, LLC and Limetree Bay Refining, LLC, dated as of September 19, 2018.*

69. Purchase and Sale Agreement for Equipment or Material by and between Cust-O-Fab, LLC and
    Limetree Bay Refining, LLC, dated as of January 15, 2019.*

70. Purchase and Sale Agreement for Equipment or Material by and between Cust-O-Fab, LLC and
    Limetree Bay Refining, LLC, dated as of December 3, 2018.*

71. Purchase and Sale Agreement for Equipment or Material by and between Cust-O-Fab, LLC and
    Limetree Bay Refining, LLC, dated as of January 15, 2019.*

72. Purchase and Sale Agreement for Equipment or Material by and between Speed Valve and
    Specialty, Inc. and Limetree Bay Refining, LLC, dated as of February 8, 2019; Services Addendum
    No. 1 to Master Purchase and Sale Agreement for Equipment or Material by and between Speed
    Valve and Specialty, Inc. and Limetree Bay Refining, LLC, dated as of March 26, 2021.*

73. Purchase Order Terms and Conditions Agreement, dated as of November 19, 2019, by and between
    Limetree Bay Refining, LLC, and Victory Energy Operations, LLC, as amended by Addendum
    No. 1, dated as of March 17, 2020.*

74. Rental Agreement, dated as of December 5, 2018, by and between Centerline Car Rentals, Inc. and
    Limetree Bay Terminals, LLC ; Rental Agreement, dated as of December 6, 2018, by and between
    Centerline Car Rentals, Inc. and Limetree Bay Terminals, LLC; Rental Agreement, dated as of
    March 21, 2018, by and between Centerline Car Rentals, Inc. and Limetree Bay Terminals, LLC


                                              24
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 26 of 53



    Rental Agreement, dated as of September 24, 2018, by and between Centerline Car Rentals and
    Limetree Bay Terminals; Rental Agreement, dated as of January 9, 2019, by and between
    Centerline Car Rentals, Inc. and Limetree Bay Refining, LLC; Rental Agreement, dated as of
    October 31, 2018, by and between Centerline Car Rentals, Inc. and Limetree Bay Refining, LLC;
    Rental Agreement, dated as of February 15, 2018, by and between Centerline Car Rentals, Inc. and
    Limetree Bay Refining, LLC; Rental Agreement, dated as of August 10, 2018, by and between
    Centerline Car Rentals, Inc. and Limetree Bay Refining, LLC; Rental Agreement, dated as of April
    18, 2019, by and between Centerline Car Rentals, Inc. and Limetree Bay Refining, LLC; Rental
    Agreement, dated as of August 29, 2019, by and between Centerline Car Rentals, Inc. and Limetree
    Bay Refining, LLC; Rental Agreement, dated as of August 29, 2018, by and between Centerline
    Car Rentals, Inc. and Limetree Bay Refining, LLC; Rental Agreement, dated as of January 30,
    2019, by and between Centerline Car Rentals, Inc. and Limetree Bay Refining, LLC; Rental
    Agreement, dated as of January 30, 2019, by and between Centerline Car Rentals, Inc. and Limetree
    Bay Refining, LLC; Rental Agreement, dated as of January 30, 2019, by and between Centerline
    Car Rentals, Inc. and Limetree Bay Refining, LLC; Rental Agreement, dated as of January 30,
    2019, by and between Centerline Car Rentals, Inc. and Limetree Bay Refining, LLC.

75. Refinery Start-up Project Agreement, dated as of July 31, 2018, by and between Limetree Bay
    Refining, LLC, and Honeywell International, Inc., as amended by Amendment No. 1, dated as of
    September 10, 2018.

76. Senior Secured Superpriority Debtor in Possession Credit Agreement, dated as of July 13, 2021,
    by and among Limetree Bay Refining, LLC, Limetree Bay Refining Holdings II, LLC, Limetree
    Bay Refining Holdings LLC, Limetree Bay Services, LLC, Limetree Bay Refining Marketing,
    LLC, Limetree Bay Refining Operating, LLC, and 405 Sentinel, LLC.

77. Services Agreement, dated as of May 22, 2019, by and between Access Sciences Corporation and
    Limetree Bay Refining, LLC, as amended by Addendum No. 1, dated as of July 23, 2019. *

78. Services Agreement, dated as of January 24, 2020, by and between Compressor Controls
    Corporation and Limetree Bay Refining, LLC.

79. Services Agreement, dated as of January 13, 2020, by and between Concentric, LLC and Limetree
    Bay Refining, LLC, as amended by Addendum No. 1, dated as of January 13, 2020.

80. Services Agreement dated effective December 12, 2018, between Limetree Bay Refining, LLC and
    Classic Controls, Inc.

81. Services Agreement dated effective February 11, 2019, between Limetree Bay Refining, LLC, and
    Cruzan Environmental Services, Inc.

82. Services Agreement, dated as of July 10, 2019, by and between Limetree Bay Refining, LLC, and
    Boulden Company, Inc., as amended by Addendum No. 1, dated as of August 1, 2019, as further
    amended by Addendum No. 2, dated as of August 1, 2019, as further amended by Addendum No.
    3, dated as of April 17, 2019, as further amended by Addendum No. 4, dated as of October 1, 2019,
    as further amended by Addendum No. 5, dated as of October 24, 2019, as further amended by
    Addendum No. 6, dated as of December 4, 2019, as further amended by Addendum No. 7, dated
    as of January 31, 2020, as further amended by Addendum No. 8, dated as of January 31, 2020, as
    further amended by Addendum No. 9, dated as of March 23, 2020, as further amended by
    Addendum No. 10, dated as of June 2, 2020, and as further amended by Addendum No. 11, dated
    as of June 2, 2020.

                                               25
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 27 of 53



83. Services Agreement between Limetree Bay Refining, LLC and Precision Filtration Products dated
    May 21, 2020.

84. Services Agreement, dated as of January 10, 2020, by and between Trinity Integrated Systems, Ltd.
    and Limetree Bay Refining, LLC.

85. Services Agreement, dated as of August 28, 2020, by and between Madison Plant Services, Inc.
    and Limetree Bay Refining, LLC.

86. Services Agreement, dated as of January 23, 2020, by and between REV1 Oil & Gas LLC and
    Limetree Bay Refining, LLC, as amended by Addendum No. 1, dated as of June 3, 2020,
    Addendum No. 2, dated as of July 30, 2020, and Addendum No. 3, dated as of November 1, 2020.*

87. Services Agreement, dated as of September 17, 2018, by and between Limetree Bay Refining, LLC,
    and Advanced Overhead Crane Services, Inc., as amended by Addendum No. 1, dated as of
    November 26, 2018, as further amended by Addendum No. 2, dated as of July 24, 2019, and as
    further amended by Addendum No. 3, dated as of June 29, 2020; Master Purchase and Sale
    Agreement for Equipment and Material, dated as of March 27, 2019, by and between Limetree Bay
    Refining, LLC, and Advanced Overhead Crane Services, Inc.

88. Services Agreement, dated as of October 26, 2018, by and between Limetree Bay Refining, LLC,
    and Atlantic Equipment Resources, LLC.

89. Software License & Services Agreement, dated as of January 13, 2020, by and between Pimsoft
    Inc. and Limetree Bay Refining, LLC. *

90. Software License Agreement, executed by the parties on June 12, 2020, by and between Limetree
    Bay Refining, LLC and Aspen Technology, Inc.

91. Sublease Agreement, dated as of September 1, 2019, by and between Gulfmark Offshore, Inc. and
    Limetree Bay Services, LLC.

92. Subordinated Note, by and between Limetree Bay Refining, LLC and Limetree Bay Ventures, LLC.

93. Subscription Services Agreement, dated as of February 21, 2020, by and between FLIR
    Commercial Systems, Inc. and Limetree Bay Refining, LLC.*

94. Term Services Agreement, dated as of April 30, 2019, by and between Limetree Bay Refining,
    LLC and Cust-O-Fab Specialty Services, LLC

95. Technical Services Agreement, dated as of November __, 2018, by and between Axens North
    America, Inc. and Limetree Bay Refining, LLC.*

96. Term and Services Agreement, dated as of June 5, 2018, by and between Limetree Bay Refining,
    LLC, and National Industrial Services, LLC, as amended by Addendum No. 1, dated as of October
    12, 2018, as further amended by Addendum No. 2, dated as of May 6, 2019, as further amended by
    Addendum No. 2a, dated as of November 1, 2018, as further amended by Addendum No. 3, dated
    as of June 7, 2018, as further amended by Addendum No. 4, dated as of June 7, 2018, as further
    amended by Addendum No. 5, dated as of October 21, 2019, as further amended by Addendum
    No. 6, as dated on October 21, 2019, and further amended by Addendum No. 8, dated as of
    January 1, 2021.

                                               26
   Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 28 of 53



 97. Term Consulting Services Agreement, dated as of September 24, 2019, by and between Ballard
     Hospitality LLC and Limetree Bay Refining LLC; Term Services Agreement, dated as of
     January 20, 2020, by and between Ballard Hospitality L.L.C and Limetree Bay Refining, LLC.

 98. Term Debt Guarantee; Debtor: Limetree Bay Refining, LLC; Limetree Bay Refining Operating,
     LLC; Creditor: J. Aron & Company, LLC.

 99. Term Services Agreement, dated as of June 1, 2019, by and between Acconda L.P., d/b/a Aqua
     Drill International and Limetree Bay Refining, LLC. *

100. Term Services Agreement, dated as of May 18, 2018, by and between Total Safety Virgin Islands
     LLC and Limetree Bay Refining, LLC, as amended by Addendum Number 1, dated as of October
     1, 2018.*

101. Term Services Agreement, dated as of June 20, 2018, by and between Limetree Bay Refining, LLC,
     and InServ Field Services USVI, LLC, amended by Addendum No. 1, dated as of October 1, 2018,
     as further amended by Addendum 1a, dated as of February 11, 2019, as further amended by
     Addendum No. 2, dated as of October 31, 2019, as further amended by Addendum No. 3, dated as
     of October 31, 2019, and as further amended by Addendum No. 5, dated as of January 1, 2021.

102. Term Services Agreement, dated as of April 30, 2019, by and between Limetree Bay Refining,
     LLC, and Cust-O-Fab Specialty Services, LLC.

103. Term Services Agreement, dated as of October 19, 2018, by and between Limetree Bay Refining,
     LLC, and Sulzer Turbo Services Houston, Inc, as amended by Addendum No. 1, dated as of
     October 1, 2018.

104. Term Services Agreement, dated as of January 14, 2019, by and between Limetree Bay Refining,
     LLC and Primaisla, Inc.

105. Term Services Agreement, dated as of June 15, 2018, by and between Limetree Bay Refining
     Operating, LLC and Sentinel Integrity Solutions, Inc., as amended by Addendum No. 1, dated as
     of October 1, 2018.

106. Term Services Agreement, dated as of June 18, 2018, by and between Limetree Bay Refining
     Operating, LLC, and Sun Constructors, Inc, as amended by Addendum No. 1, dated as of December
     3, 2018, as further amended by Addendum, dated as of July 1, 2019, and as further amended, by
     Addendum, dated as of July 15, 2019, novated by Novation Agreement, dated as of February 18,
     2019, by and between Limetree Bay Refining, LLC, SUN Contactors, Inc., and EXCEL
     Construction and Maintenance VI, Inc.

107. Term Services Agreement, dated as of May 18, 2018, by and between Limetree Bay Refining, LLC,
     and Total Safety Virgin Islands LLC, as amended by Addendum No. 1, dated as of October 1, 2018.

108. Term Services Agreement, dated as of January 1, 2020, by and among VWNA Caribbean, LLC,
     Limetree Bay Refining and Limetree Bay Terminals, LLC.

109. Term Services Agreement, dated as of February 21, 2019, by and between Limetree Bay Refining,
     LLC, and Universal Plant Services (VI), LLC, as amended by Addendum 1, dated April 30, 2019,
     and further amended by Addendum 2, dated as of August 4, 2019, and further amended by
     Amendment and Joinder, dated as of September 16, 2019.

                                               27
   Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 29 of 53




110. Term Services Agreement, dated as of March 27, 2019, by and between Limetree Bay Refining,
     LLC, and TEAM Industrial Services, Inc., as amended by Amendment and Joinder Agreement,
     dated as of May 7, 2020, by and between Limetree Bay Terminals, LLC, Limetree Bay Refining,
     LLC, and TISI VI, LLC, whereas Limetree Bay Terminals, LLC desires to join in and become a
     party to the Agreement; Parent Company Guarantee, dated as of November 1, 2019, by and between
     Limetree Bay Refining, LLC, and TEAM Inc., whereas Team Industrial desires to assign all of its
     rights and delegate all of its obligations to its affiliate, TISI VI, LLC; Assignment of Term Services
     Agreement, dated as of November 1, 2019, by and between Team Industrial Services, Inc., TISI
     VI, LLC, and Limetree Bay Refining, LLC.

111. Term Services Agreement, dated as of July 16, 2018, by and between Limetree Bay Refining, LLC,
     and AltairStrickland V.I., LLC, as amended by Addendum No. 1, dated as of October 1, 2018, and
     as further amended by Addendum No. 2, as dated of December 5, 2018.

112. Term Services Agreement, dated as of September 27, 2018, by and between Limetree Bay
     Refining, LLC, and Versa Integrity Group, Inc.

113. Term Services Agreement, dated as of August 18, 2018, by and between Limetree Bay Refining,
     LLC, and Virgin Islands Industrial Services, LLC, as further amended by Addendum No. 3, dated
     as of June 18, 2019, as further amended by Addendum No. 6, dated as of August 1, 2019, as further
     amended by Agreement Addendum, dated October 14, 2019, as further amended by Addendum
     No. 9, dated November 1, 2019, as further amended by Addendum No. 10, dated as of November 1,
     2019, and as further amended by Addendum No. 11, dated as of January 29, 2020.

114. Term Services Agreement, dated as of December 30, 2019, by and between Reactor
     Resources, LLC and Limetree Bay Refining, LLC.

115. Term Services Agreement, dated as of May 10, 2018 by and between Limetree Bay Refining, LLC,
     and ENGlobal U.S., Inc., as amended by Attachment to Term Services Agreement, effective as of
     January 1, 2019, and as further amended by Attachment to Term Services Agreement, as effective
     July 29, 2019

116. Term Services Agreement, dated as of August 9, 2018, by and between Limetree Bay Refining,
     LLC, and Christiansted Equipment, Ltd., as amended by Addendum No. 1, dated as of October 1,
     2018, and as further amended by Addendum No. 2, dated as of April 1, 2020.

117. Term Services Agreement, dated as of June 11, 2018, by and between Limetree Bay Refining
     Operating, LLC, and Vivot Equipment Corporation, Inc., as amended by Addendum No. 1, dated
     as of October 1, 2018, as further amended by Addendum Attachment No. 1, dated as of August 22,
     2018, as further amended by Addendum No. 2, dated as of June 11, 2018, as further amended by
     Addendum No. 3, dated as of April 2, 2019, as further amended by Addendum No. 4, dated as of
     July 26, 2019, as further amended by Addendum No. 5, dated as of September 5, 2019 (not signed
     by either party), as further amended by Addendum No. 6, dated as of November 7, 2019, as further
     amended by Addendum No. 7, dated as of January 29, 2020, as further amended by Addendum
     No. 8, dated as of December 23, 2019, as further amended by Addendum No. 9, dated as of
     September 21, 2020, and as further amended by Addendum No. 10, dated as of February 1, 2020.

118. Term Services Agreement, dated as of July 11, 2016, by and between Limetree Bay Terminals and
     Coral Management, as amended by Amendment and Joinder Agreement, dated as of December 6,


                                                  28
  Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 30 of 53



    2019, by and among Coral Management, Limetree Bay Terminals, and Limetree Bay Refining,
    LLC.

119. Term Services Agreement, dated as of July 14, 2016, by and between Limetree Bay Terminals and
     Dynamic Innovative Corporation, as amended by Amendment and Joinder Agreement, dated as of
     December 4, 2019, by and among Dynamic Innovative Corporation, Limetree Bay Terminals, and
     Limetree Bay Refining, LLC.

120. Terms and Conditions Applicable to Technical Advisory Services & Materials. – Control System
     Technologies.*

121. Terms and Conditions, by and between Siemens Energy, Inc. and Limetree Bay Refining.*

122. Terms and Conditions of Sale, by and between Alimak Hek, Inc. and Limetree Bay Refining,
     LLC.*

123. Term Services Agreement, dated as of June 12, 2019, by and among BrandSafway Solutions USVI,
     LLC, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC.*

124. Term Services Agreement, dated as of June 15, 2019, by and between EnerMech Mechanical
     Services, Inc.

125. Term Services Agreement, dated as of January 22, 2016, by and among Acuren Inspection, Inc.,
     Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC, as amended by Amendment and
     Joinder, dated as of January 1, 2019.

126. Term Services Agreement, dated as of July 2, 2018, by and between Limetree Bay Refining, LLC,
     and Elite Turnaround Specialists, Ltd., as amended by Addendum No. 1, dated as of October 1,
     2018, as further amended by Addendum No. 2, dated as of January 1, 2019, as further amended by
     Addendum No. 3, dated as of July 1, 2019, and as further amended by Addendum No. 4, dated as
     of January 1, 2021.

127. Term Services Agreement, dated as of November 28, 2018, by and between Analytic Stress
     Relieving, Inc and Limetree Bay Refining, LLC.*

128. Term Services Agreement dated November 23, 2020, between Process Technical Services, Inc.
     (Contractor) and Limetree Bay Refining, LLC.*

129. Term Services Agreement, dated as of July 22, 2019, by and among FMMVI, LLC, Limetree Bay
     Refining, LLC, and Limetree Bay Terminals, LLC, as amended by Addendum No. 1, dated as of
     July 22, 2019, Amendment and Joinder Agreement, dated as of January 1, 2021.*

130. Term Services Agreement, dated as of July 26, 2019, by and among Austin Fire Systems, Limetree
     Bay Refining, LLC, and Limetree Bay Terminals, LLC.*

131. Term Services Agreement, dated as of September 27, 2019, by and among Limetree Bay Refining,
     LLC, Limetree Bay Terminals, LLC, and DSI LLC.*

132. Term Services Agreement, dated as of March 2, 2019, by and between AZZ WSI, LLC and
     Limetree Bay Refining, LLC.



                                              29
        Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 31 of 53



      133. Term Services Agreement, dated as of February 25, 2020, by and among Limetree Bay Refining,
           LLC, Limetree Bay Terminals, LLC, and William R. Nash V.I., Inc. *

      134. Term Services Agreement, dated as of February 14, 2019, by and between Mistras Group and
           Limetree Bay Refining, LLC.

      135. Term Services Agreement, dated as of August 21, 2018, by and between Limetree Bay Refining,
           LLC, and Chalmers and Kubeck, Inc., as amended by Addendum 1, dated as of March 16, 2020,
           and as further amended by Addendum 2, dated as of February 1, 2021. *

      136. Term Services Agreement, dated as of February 21, 2019, by and between Limetree Bay Refining,
           LLC, and Universal Plant Services (VI), LLC, as amended by Addendum 1, dated April 30, 2019,
           and further amended by Addendum 2, dated as of August 4, 2019, and further amended by
           Amendment and Joinder, dated as of September 16, 2019.

      137. Terminal Services Agreement, dated as of March 3, 2020, by and between Limetree Bay Terminals,
           LLC and Limetree Bay Refining Marketing, LLC.

      138. Terminal Services Agreement (Included Locations), effective as of March 3, 2020, by and among
           Limetree Bay Terminals, LLC, Limetree Bay Refining Marketing LLC,, and J. Aron & Company
           LLC.

      139. Training Services Agreement, dated November 26, 2019, by and between John Zink Company,
           LLC and Limetree Bay Refining, LLC; Purchase Order Agreement, dated as of July 2, 2019, by
           and between Limetree Bay Refining, LLC, and John Zink Company, LLC.

      140. Vendor Terms, dated as of September 16, 2019, by and between McDonough Construction Rentals
           Inc. and Limetree Bay Refining.*

      141. VISIUMKMS Software Subscription Service Agreement, dated February 11, 2020, by and among
           VisiumKMS Inc., Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC.*

(v)

       [None.]


(vi)

       1. Asset Purchase and Sale Agreement, dated as of April 25, 2018, entered into by and between
          Limetree Bay Refining, LLC, and K+S Potash Canada General Partnership.

       2. Amended and Restated Pledge Agreement, dated as of June 24, 2020, by and between Limetree
          Bay Ventures, LLC, Wilmington Trust, National Association and Additional Noteholders.

       3. Equipment Purchase and Sale Agreement, dated as of September 28, 2020, by and between
          Limetree Bay Refining, LLC, and A G Equipment Company, as amended by the First Amendment
          to Equipment Purchase and Sale Agreement, dated as of November 9, 2020.

       4. Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining,
          LLC and Goldman Sachs Bank USA, as collateral agent.


                                                    30
        Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 32 of 53




    5. Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining,
       LLC and The Government of the Virgin Islands.

    6. Refinery Facilities Agreement, dated as of March 3, 2020, by J. Aron & Company LLC, Limetree
       Bay Refining Marketing, LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay Refining,
       LLC, and Limetree Bay Refining Operating, LLC.

    7. Refinery Operating Agreement, dated as of July 2, 2018, by Limetree Bay Refining, LLC (as
       Refinery Operator); and Government of U.S. Virgin Islands.

    8. Security Agreement, dated as of March 3, 2020, by and between J. Aron & Company LLC and
       Limetree Bay Refining Marketing, LLC (Relates to Monetization Master Agreement and Financing
       Agreement, dated as of March 3, 2020, between J. Aron & Company LLC; and Limetree Bay
       Refining Marketing, LLC.

    9. Security Agreement, dated as of November 20, 2018, among Limetree Bay Refining, LLC, a U.S.
       Virgin Islands limited liability company, Limetree Bay Refining Marketing, LLC, Limetree Bay
       Refining Operating, LLC and Goldman Sachs Bank USA, in its capacity as collateral agent under
       the Intercreditor Agreement referred to in the agreement.

    10. Pledge Agreement, dated as of November 20, 2018, among Limetree Bay Refining Holdings II,
        LLC, limited liability company, and Goldman Sachs Bank USA LLC, in its capacity as collateral
        agent for the Project Secured Parties.

    11. Sublease Agreement dated September 1, 2019, between Gulfmark Offshore, Inc. and Limetree Bay
        Services, LLC.

(vii)

    1. Broadband VI Internet Service Agreement, dated as of January 21, 2019, by and between
       Broadband VI, LLC and Limetree Bay Refining, LLC.

    2. Coaching Agreement, dated as of April 1, 2021, by and among York Career Development, Inc.,
       Limetree Bay Refining, LLC, and Limetree Bay Terminals, LLC.

    3. Communications Consulting Agreement, dated as of October 8, 2019, by and between Emic
       Communications, LLC and Limetree Bay Refining, LLC.

    4. Consulting Agreement, dated as of January 14, 2019, by and between Limetree Bay Refining, LLC,
       and Rocco Colabella, as amended by Addendum No. 1, dated as of April 29, 2019, as further
       amended by Addendum No. 2, dated as of December 16, 2019, as further amended by Addendum
       No. 3, dated as of August 5, 2020, as further amended by Addendum No. 4, dated as of September
       22, 2020, and as further amended by Addendum No. 5, dated as of December 29, 2020.

    5. Consulting Services Agreement, dated as of September 9, 2019, by and between HSB Solomon
       Associates LLC and Limetree Bay Refining, LLC.

    6. Consulting Services Agreement, dated as of January 9, 2020, by and between Embark Consulting
       LLC and Limetree Bay Refining, LLC.


                                                 31
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 33 of 53



7. Consulting Agreement, dated as January 4, 2019, by and between Sloan Schoyer and Limetree Bay
   Refining, LLC, as amended by Addendum No. 1,dat dated as of April 17, 2019, as further amended
   by Addendum No. 2, dated as of March 5, 2020, as further amended by Addendum No. 3, dated as
   of June 5, 2020, as further amended by Addendum No. 4, dated as of September 17, 2020, as further
   amended by Addendum No. 5, dated as of _____, as further amended by Addendum No. 6, dated
   as of March 11, 2021, and as further amended by Addendum No. 7, dated as of ______.

8. Consulting Agreement, dated as of January 5, 2019, by and between Gary D. Marrow and Limetree
   Bay Refining, LLC, as amended by Addendum No. 1, dated January 5, 2019, and Addendum No.
   2, dated January 5, 2019.

9. Contract for Purchase and Sale of Equipment and Support Services, dated as of November 9, 2018,
   by and between Flowserve U.S., Inc. and Limetree Bay Refining, LLC.

10. Engagement Letter, dated as of October 9, 2020, with PricewaterhouseCoopers LLP.

11. Engagement Letter, dated as of February 1, 2019, by and between Limetree Bay Refining, LLC,
    and DHR International, Inc.

12. ETAP License Agreement.

13. Feedstock Supply Agreement, dated as of November 15, 2018, by and between BP Products North
    America Inc. and Limetree Bay Refining Marketing, LLC.

14. General Agreement, dated as of January 24, 2020, by and between Sphera Solutions, Inc. and
    Limetree Bay Refining, LLC.

15. KnowBe4 Security Awareness Training Subscription Diamond, dated as of May 12, 2020, by and
    between Broadleaf Group and Limetree Bay Refining, LLC.

16. Letter of Contract, dated as of December 21, 2018, by and between Limetree Bay Refining, LLC,
    and Honeywell International, Inc.

17. License Transfer and Termination Agreement, dated as of February 3, 2019, by and among UOP
    LLC, Hovensa LLC and Limetree Bay Refining, LLC.

18. Limited Notice to Proceed, dated as of September 18, 2020, by and between, Limetree Bay
    Refining, LLC, and NAES Corporation.

19. Management Services Agreement, dated as of April 24, 2019, by and between Dan-Gulf Shipping,
    Inc. and Limetree Bay Refining, LLC.

20. Master Charter Agreements, dated as of May 1, 2020, by and between Sun Country Inc. and
    Limetree Bay Refining LLC.

21. Master Equipment Lease Agreement, dated as of July 8, 2019, by and among F&M MAFCO, Inc.,
    Limetree Bay Terminals LLC and Limetree Bay Refining LLC.

22. Master Services Agreement, dated as of August 27, 2020, by and between CADENCE
    SOLUTIONS INC. and Limetree Bay Refining, LLC.


                                              32
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 34 of 53



23. Medical Service Agreement, dated as of April 15, 2018, by and between Plessen Healthcare, LLC
    and Limetree Bay Refining, LLC.

24. Master Services Agreement, dated as of August 23, 2018, by and between YANA SYSTEMS INC.
    and Limetree Bay Refining, LLC.

25. Master Purchase and Sale Agreement for Equipment or Material, dated as of February 8, 2019, by
    and between Limetree Bay Refining, LLC, and Speed Valve & Specialty Infrared, Inc., as amended
    by Services Addendum No. 1, dated as of March 26, 2021.

26. Master Subscription License Agreement, dated as of November 25, 2019, by and between
    Prometheus Group Enterprises, LLC and Limetree Bay Refining, LLC.

27. Order Form, dated as of October 4, 2019, by and between SAP America, Inc. and Limetree Bay
    Refining, LLC.

28. Process Book Supply Agreement, dated as of November 21, 2018, by and between Limetree Bay
    Refining, LLC, and Axens North America, Inc., as amended by Addendum No. 1, dated as of
    December 4, 2018.

29. Professional Services Agreement, dated as of February 5, 2020, by and between Faithful + Gould,
    Inc. and Limetree Bay Refining, LLC.

30. Professional Services Agreement, dated as of July 26, 2019, by and between Goldiebear Universe
    and Limetree Bay Terminals, LLC.

31. Professional Services Agreement, dated as of October 17, 2017, by and between Pinnacle Asset
    Integrity Services, LLC dba PinnacleART and Limetree Bay Terminals, LLC.

32. Proposal LBR-2019/001, dated as of September 18, 2019, by and between ZeoNet Inc. and
    Limetree Bay Refining, LLC.

33. Services Agreement, dated February 27, 2020, by and among Oliver Exterminating of the V.I. Inc.,
    Limetree Bay Refining, and Limetree Bay Terminals, LLC.

34. Services Agreement, dated as of February 6, 2019, by and between GEM Electric, LLC and
    Limetree Bay Refining, LLC.

35. Services Agreement, dated as of August 28, 2020, by and between Madison Plant Services, Inc.
    and Limetree Bay Refining, LLC.

36. Services Agreement, dated as of October 28, 2020, by and among Engineering Systems and Sales,
    Inc., Limetree Bay Refining, LLC, and Refining Bay Terminals, LLC.

37. Shared Services Systems Agreement, dated as of November 30, 2018, by and between Limetree
    Bay Terminals, LLC, and Limetree Bay Refining, LLC.

38. Term Services Agreement, dated as of July 26, 2019, by and among Austin Fire Systems, Limetree
    Bay Refining, LLC, and Limetree Bay Terminals, LLC.



                                              33
         Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 35 of 53



       39. Services Agreement, dated as of August 9, 2019, by and between Superior Laboratory Services,
           Inc. and Limetree Bay Refining, LLC, as amended by Addendum No. 1, dated as of April 8, 2021.

       40. Services Agreement, dated as of January 29, 2020, by and between Akili, Inc. and Limetree Bay
           Refining, LLC.

       41. Services Agreement, dated as of June 24, 2020, by and between James D. Acers Company, Inc.
           and Limetree Bay Refining, LLC.

       42. Subscription Services Agreement, dated as of February 21, 2020, by and between FLIR
           Commercial Systems, Inc. and Limetree Bay Refining, LLC.

       43. Terms and Conditions of Sale, by and between Alimak Hek, Inc. and Limetree Bay Refining, LLC.

       44. Term Services Agreement, dated as of April 30, 2019, by and between Limetree Bay Refining,
           LLC and Cust-O-Fab Specialty Services, LLC.

       45. Work Order Number 3 dated effective January 22, 2020.

(viii)

       1. Air Pollution Control Program - Authority to Construct and Permit to Operate (MARPOL
          Project), Permit No. STX-924-AC-PO-20.

       2. Air Pollution Control Program - Permit to Construct and Operate, Permit No. STX-895-AC-PO-
          18.

       3. GT13-LSF Project PSD Permit.

       4. GT No. 10 Prevention of Significant Deterioration PSD) of Air Quality Permit.

       5. Mortgage and Security Agreement dated November 30, 2018, between Limetree Bay Refining,
          LLC and The Government of the Virgin Islands.

       6. RCRA Hazardous Waste Permit, Permit No. VID 980536080.

       7. Refinery Operating Agreement, dated as of July 2, 2018, by and between The Government of the
          U.S. Virgin Islands and Limetree Bay Refining, LLC.

       8. Special Solid Waste Permit to Generate and/or Store, Treat and Dispose Used Oil, Permit No.
          STX C-002.

       9. Title V Permit (Part 70 Operating Permit), Permit No. STX-TV-003-10.

       10. Territorial Pollution Discharge Elimination System (Dated March 1, 2008), Permit No. VI0000019.

       11. Modified 1997 PSD Permit (Dated May 9, 2011).


(ix)



                                                     34
       Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 36 of 53



      1. BP-LBRM Side Agreement, dated as of March 3, 2020, by and between BP Products North
         America Inc. and Limetree Bay Refining Marketing, LLC.

      2. Limited Assignment Agreement, dated as of March 3, 2020, by and among BP Products North
         America Inc., Limetree Bay Refining Marketing, LLC, Limetree Bay Terminals, LLC, and J. Aron
         & Company LLC.

(x)

      1. 2002 Master Agreement – ISDA, dated as of January 18, 2019, by and between Limetree Bay
         Refining, LLC and J. Aron & Company LLC.

      2. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and Al
         Warda Investments RSC Limited.

      3. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC, and
         Barclays Bank PLC.

      4. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and
         GEPIF II Limetree Holdings LP.

      5. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and EIF
         Limetree Debt Aggregator, L.P.

      6. Additional Note, dated as of June 24, 2020, by and between Limetree Bay Ventures, LLC and FS
         Energy and Power Fund.

      7. Agreement for Sale of Products, Parts and/or Services, dated as of April 12, 2019, by and between
         GE Oil & Gas LLC and Limetree Bay Terminals, LLC.

      8. Air Pollution Control Program - Authority to Construct and Permit to Operate (MARPOL Project),
         Permit No. STX-924-AC-PO-20.

      9. Air Pollution Control Program - Permit to Construct and Operate, Permit No. STX-895-AC-PO-
         18.

      10. Agreement for Services, dated as of June 2, 2020, by and between the Whitaker Companies, Inc.
          and Limetree Bay Refining, LLC.

      11. Amended and Restated Depositary and Intercreditor Agreement, dated as of March 3, 2020, by and
          among Limetree Bay Refining, LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay
          Refining Operating, LLC, Goldman Sachs Bank USA, J. Aron & Company LLC, and Deutsche
          Bank Trust Company.

      12. Amended and Restated Tolling Agreement, dated as of February 22, 2021, by and among Limetree
          Bay Refining, LLC, Limetree Bay Refining Marketing, LLC, and BP Products North America, Inc.

      13. Amended and Restated Pledge Agreement, dated as of June 24, 2020, by and between Limetree
          Bay Ventures, LLC, Wilmington Trust, National Association and Additional Noteholders.



                                                    35
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 37 of 53



14. Architectural Agreement, dated as of January 25, 2019, by and between Smith LaRock Architecture
    P.C. and Limetree Bay Refining, LLC.

15. BP-LBRM Side Agreement, dated as of March 3, 2020, by and between BP Products North
    America Inc. and Limetree Bay Refining Marketing, LLC.

16. Broker’s Agreement, dated as of May 26, 2020 by and between Vital Industrial Solutions Corp.
    and Limetree Bay Refining, LLC.

17. Confidentiality Agreement, dated as of November 7, 2018, by and between DYONYX, L.P., and
    Limetree Bay Refining, LLC.

18. Consulting Agreement, dated as of April 12, 2019, by and between Inevis, LLC and Limetree Bay
    Refining, LLC.

19. Consulting Services Agreement, dated as of September 27, 2019, by and between Intergraph
    Corporation and Limetree Bay Refining, LLC.

20. Consulting Services Agreement, dated as of January 9, 2020, by and between Embark Consulting
    LLC and Limetree Bay Refining, LLC.

21. Consulting Services Agreement, dated as of February 28, 2020, by and between NAES Corporation
    and Limetree Bay Refining, LLC.

22. Continuing Technical Services Agreement, dated as of May 28, 2021, by and between Bechtel
    Hydrocarbon Technology Solutions, Inc. and Limetree Bay Refining, LLC.

23. Credit Agreement, dated as of November 20, 2018, by and between Limetree Bay Refining
    Marketing, LLC, Limetree Bay Refining Holdings II, LLC, Limetree Bay Refining Operating,
    LLC, Limetree Bay Refining, LLC, and Goldman Sachs Bank USA, as amended by Amendment
    Omnibus Amendment and Waiver, dated as of November 27, 2019, as further amended by Second
    Omnibus Amendment and Waiver, dated as of February 20, 2020, as further amended by
    Amendment No. 3, dated as of March 3, 2020, as further amended by Amendment No. 4, dated as
    of September 30, 2020, as further amended by Amendment No. 5, dated as of December 31, 2020,
    and as further amended by the Sixth Omnibus Amendment, dated as of April 16, 2021.

24. Deposit Account Control Agreement, dated as of March 3, 2020, by and among Limetree Bay
    Refining Marketing, LLC, Oriental Bank, and J. Aron & Company LLC.

25. Engagement Letter, dated as of October 9, 2020, with PricewaterhouseCoopers LLP.

26. Engagement Letter Agreement, dated as of August 3, 2018, by and between Mercer Operating
    Companies and Limetree Bay Refining, LLC.

27. ETAP License Agreement.

28. Equipment Rental Agreement, dated as of October 22, 2020, by and between Pentair Filtration
    Solutions, LLC and Limetree Bay Refining, LLC.

29. Funding Letter Agreement, dated as of March 3, 2020, from Limetree Bay Refining Marketing,
    LLC to J. Aron & Company.

                                              36
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 38 of 53




30. Funding Letter Agreement, dated as of March 3, 2020, from Limetree Bay Refining Marketing,
    LLC to J. Aron & Company.

31. Financing Agreement, dated as of March 3, 2020, by and between J. Aron & Company, LLC, and
    Limetree Bay Refining Marketing, LLC.

32. Freight Forwarding Agreement, dated as of February 28, 2019, by and between Crane Worldwide
    Logistics, LLC and Limetree Bay Refining, LLC.

33. GE Oil & Gas General Terms & Conditions for Sale of Products, Parts and/or Services by and
    between GE Oil & Gas and Limetree Bay Refining, LLC, dated as of April 12, 2019.

34. Inventory Sales Agreement, dated as of March 3, 2020, by and between J. Aron & Company LLC
    and Limetree Bay Refining Marketing, LLC.

35. Intermediation Facilitation Agreement, dated as of March 3, 2020, by and among Limetree Bay
    Refining Marketing, LLC, J. Aron & Company LLC, and BP Products North America Inc.

36. Interparty Sharing Agreement, dated as of June 11, 2020, by and among Limetree Bay Ventures,
    LLC, the Term Lenders from time to time party hereto, Goldman Sachs Bank USA, and
    Wilmington Trust, National Association, as amended by Consent and Amendment No. 1, dated as
    of October 26, 2020.

37. License Agreement, dated as of October 2, 2018, by and between UOP LLC and Limetree Bay
    Refining, LLC.

38. Limited Assignment Agreement, dated as of March 3, 2020, by and among BP Products North
    America Inc., Limetree Bay Refining Marketing, LLC, Limetree Bay Terminals, LLC, and J. Aron
    & Company LLC.

39. Management Services Agreement, dated as of April 24, 2019, by and between Dan-Gulf Shipping,
    Inc. and Limetree Bay Refining, LLC.

40. Marketing and Sales Agreement, dated as of March 3, 2020, by and between J. Aron & Company
    LLC, and Limetree Bay Refining Marketing, LLC.

41. Master Buy/Sell Confirmation, by and between Limetree Bay Refining Marketing, LLC, and J.
    Aron & Company LLC.

42. Master Services Agreement, dated as of August 21, 2019, by and between Mammoet USA South,
    Inc. and Limetree Bay Refining, LLC.

43. Master Services Agreement, dated as of April 1, 2020, by and between Mission Secure Inc. and
    Limetree Bay Refining, LLC.

44. Master Consignment Agreement, dated as of March 9, 2021, by and between NRI Industrial Sales
    LLC, and Limetree Bay Refining, LLC.

45. Master Consulting Agreement for Professional Advisory Services, dated as of June 25, 2018, by
    and between Opportune LLP and Limetree Bay Refining Operating, LLC.

                                             37
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 39 of 53




46. Master Services Agreement, dated as of November 21, 2018, by and between the Virgin Islands
    Telephone Corporation d/b/a/ Viya and Limetree Bay Refining, LLC.

47. Master Services Agreement, dated as of February 11, 2019, by and between G.A.S Unlimited, Inc.
    and Limetree Bay.

48. Medical Service Agreement, dated as of April 15, 2018, by and between Plessen Healthcare, LLC
    and Limetree Bay Refining, LLC.

49. Monetization Master Agreement, dated as of March 3, 2020, by and among J. Aron & Company
    LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay Refining, LLC, and Limetree Bay
    Refining Operating, LLC.

50. On-Site Service Agreement, dated as of July 17, 2020, by and between Applied Manufacturing
    Technologies LP and Limetree Bay Refining, LLC.

51. Order Form, dated as of October 4, 2019, by and between SAP America, Inc. and Limetree Bay
    Refining, LLC.

52. Order Form, dated as of January 18, 2020, by and between HIS Global Inc. and Limetree Bay
    Refining LLC.

53. Port/Ship Agency Agreement by and between ISS Marine Services Inc., Limetree Bay Terminals,
    LLC and Limetree Bay Refining, LLC, dated as of August 19, 2019.

54. Professional Services Agreement, dated as of June 7, 2021, by and between Spirit Environmental,
    LLC and Limetree Bay Refining, LLC.

55. Refinery Facilities Agreement, dated as of March 3, 2020, by J. Aron & Company LLC, Limetree
    Bay Refining Marketing, LLC, Limetree Bay Refining Marketing, LLC, Limetree Bay Refining,
    LLC, and Limetree Bay Refining Operating, LLC.

56. Special Terms and Conditions, dated as of October 21, 2019, by and between Baker Hughes
    International Branches Inc. – US Virgin Islands Branch and Limetree Bay Refining, LLC.

57. Supply and Offtake Agreement, dated as of March 3, 2020, by and between J. Aron & Company
    LLC, and Limetree Bay Refining Marketing, LLC.

58. Petroleum Coke and Sulphur Services Agreement, dated as of July 10, 2019, by and between
    Savage St. Croix LLC and Limetree Bay Refining, LLC.

59. Product Offtake Agreement, dated as of November 15, 2018, by and between BP Products North
    America Inc. and Limetree Bay Refining Marketing, LLC, as amended from time to time.

60. Professional Services Agreement, dated as of May 30, 2019, by and between Infrared Thermal
    Imaging, Inc. and Limetree Bay Refining, LLC.

61. Professional Services Agreement, dated as of July 26, 2019, by and between Goldiebear Universe
    and Limetree Bay Terminals, LLC.


                                              38
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 40 of 53



62. Promissory Note, dated as of April 17, 2020, by and between Oriental Bank and Limetree Bay
    Refining Operating LLC.

63. Professional Services Agreement, by and between Open Text Inc. and Limetree Bay Refining.

64. Professional Services Agreement, by and between Telaxe Inc. and Limetree Bay Refining, LLC.

65. Professional Services Agreement, dated as of October 28, 2019, by and between Superior
    Engineering, LLC and Limetree Bay Refining, LLC.

66. Professional Services Agreement, dated as of June 2, 2021, by and between Sulphur Experts Inc.
    and Limetree Bay Refining, LLC.

67. Professional Services Agreement, dated as of June 9, 2021, by and between ioMosaic Corporation
    and Limetree Bay Refining, LLC.

68. Professional Services Agreement, dated as of January 30, 2019, by and between Eckel &
    Associates, Inc. and Limetree Bay Refining, LLC.

69. Professional Services Agreement, dated as of November 5, 2020, by and between Stantec
    Consulting Services Inc. and Limetree Bay Refining, LLC.

70. Professional Services Agreement, dated as of January 14, 2019, by and between Spectrum
    Environmental Solutions, LLC and Limetree Bay Refining, LLC.

71. Professional Services Agreement dated February 5, 2018, between Turnaround Consulting
    Services, LLC and Limetree Bay Terminals, LLC, as amended by Amendment and Joinder, joining
    Limetree Bay Refining, LLC, dated as of April 12, 2021.

72. Professional Services Agreement, dated as of February 6, 2019, by and between Tysam Tech, LLC
    and Limetree Bay Refining, LLC.

73. Professional Services Agreement, dated as of February 5, 2020, by and between Faithful + Gould,
    Inc. and Limetree Bay Refining, LLC.

74. Professional Services Agreement, dated as of October 17, 2017, by and between Pinnacle Asset
    Integrity Services, LLC dba PinnacleART and Limetree Bay Terminals, LLC.

75. Professional Services Agreement, dated as of January 1, 2021, by and between Limetree Bay
    Refining, LLC, and ERP Software Services, LLC.

76. Professional Services Agreement, dated as of May 23, 2018, by and between Limetree Bay
    Refining Operating, LLC, and Computer Solutions, Inc. dba CosTrack Project Controls, as
    amended by Addendum No. 1, dated as of October 1, 2018.

77. Professional Services Agreement, dated as of February 1, 2021, by and among Wunderlich-Malec
    Engineering, Inc. and its Affiliates, Limetree Bay Refining, LLC, and Limetree Bay Terminations,
    LLC.

78. Professional Services Agreement, dated as of January 22, 2019, by and between Nexus Engineering
    Group, LLC and Limetree Bay Refining, LLC.

                                              39
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 41 of 53




79. Professional Services Agreement, dated as of August 10, 2018, by and between Dependable Power
    Systems, Inc. and Limetree Bay Refining, LLC.

80. Professional Services Agreement, dated as of April 5, 2021, by and between Precision Engineering
    Inc. and Limetree Bay Refining, LLC.

81. Professional Services Agreement, dated as of September 4, 2018, by and between Systran, Inc. and
    Limetree Bay Refining, LLC.

82. Professional Services Agreement, dated as of March 1, 2019, by and between Limetree Bay
    Refining, LLC, and A&G Energy LLC.

83. Professional Services Agreement, dated as of March 30, 2021, by and among The Hazard
    Management Group of Texas LLC, Limetree Bay Refining, LLC, and Limetree Bay Terminals,
    LLC.

84. Professional Services Agreement, dated as of April 23, 2021, by and between Rescue Concepts Inc.
    and Limetree Bay Refining, LLC.

85. Purchase Order Terms and Conditions Agreement, dated as of November 19, 2019, by and between
    Limetree Bay Refining, LLC, and Victory Energy Operations, LLC, as amended by Addendum
    No. 1, dated as of March 17, 2020.

86. RCRA Hazardous Waste Permit, Permit No. VID 980536080.

87. Refinery Operating Agreement, dated as of July 2, 2018, by and between The Government of the
    U.S. Virgin Islands and Limetree Bay Refining, LLC.

88. Sales Terms and Conditions of RIX Industries dated February 7, 2017.

89. Senior Secured Superpriority Debtor in Possession Credit Agreement, dated as of July 13, 2021,
    by and among Limetree Bay Refining, LLC, Limetree Bay Refining Holdings II, LLC, Limetree
    Bay Refining Holdings LLC, Limetree Bay Services, LLC, Limetree Bay Refining Marketing,
    LLC, Limetree Bay Refining Operating, LLC, and 405 Sentinel, LLC.

90. Services Agreement, dated as of September 17, 2019, by and between CBI Americas Ltd. and
    Limetree Bay Refining, LLC, as amended by Amendment No. 1, dated as of November 7, 2019.

91. Services Agreement dated July 23, 2020, among Tri-State Rescue & Research, Inc. (Contractor),
    Limetree Bay Refining, LLC (LBR) and Limetree Terminals, LLC (LBT).

92. Shared Catalyst Agreement, dated as of March 3, 2020, by and between Limetree Bay Refining
    Marketing, LLC and Limetree Bay Refining, LLC.

93. Shared Services Systems Agreement, dated as of November 30, 2018, by and between Limetree
    Bay Terminals, LLC, and Limetree Bay Refining, LLC and Limetree Bay Refining Marketing,
    LLC.

94. Software as a Service Agreement, dated as of April 8, 2021, by and between Worley Group Inc.
    dba Advisian Digital and Limetree Bay Refining, LLC.

                                              40
       Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 42 of 53




  95. Software License Agreement between Limetree Bay Refining, LLC and Aspen Technology, Inc.

  96. Software License, Support and Services Terms and Conditions, by and between Transpara LLC
      and Limetree Bay Refining, LLC.

  97. Special Solid Waste Permit to Generate and/or Store, Treat and Dispose Used Oil, Permit No.
      STX C-002.

  98. Sublease Agreement dated September 1, 2019, between Gulfmark Offshore, Inc. and Limetree Bay
      Services, LLC.

  99. Subordinated Note, by and between Limetree Bay Refining, LLC and Limetree Bay Ventures, LLC.

100.    Terms and Conditions Applicable to Technical Advisory Services & Materials.

101.    Technology Services Agreement, dated as of November 26, 2018, by and between BHI FW
        Corporation and Limetree Bay Refining, LLC.

102.    Term Services Agreement, dated as of December 15, 2018, by and between UHP Projects, Inc. and
        Limetree Bay Refining, LLC.

103.    Terminal Services Agreement (Included Locations), dated as of March 3, 2020, by and among
        Limetree Bay Terminals, LLC, Limetree Bay Refining Marketing, LLC, and J. Aron & Company
        LLC.

104.    Terminal Services Agreement (Not Included Locations), dated as of March 3, 2020, by and among
        Limetree Bay Terminals, LLC, and Limetree Bay Refining Marketing, LLC.

105.    Terms and Conditions of Sale for Products and Service, dated as of August 2, 2019, by and between
        Thermo Process Instruments, L.P. and Limetree Bay Refining, LLC.

106.    Terms and Conditions, by and between Tracerco and Limetree Bay Refining, LLC.

107.    Terms and Conditions of Sale, dated as of March 8, 2019, by and between Cormetech, Inc. and
        Limetree Bay Refining, LLC.

108.    Territorial Pollution Discharge Elimination System (Dated March 1, 2008), Permit No. VI0000019.

109.    Title V Permit (Part 70 Permit), Permit No. STX-TV-003-10.

110.    UOP Fluid Catalytic Cracking Process License Agreement, dated as of July 1, 1989, by and
        between Hess Oil Virgin Islands Corp. and UOP, as amended on July 23, 1991.

111.    UOP Hydrocarbon Process License Agreement, dated as of June 1, 1970, by and between UOP
        Process Division and Hess oil and Chemical Division.

112.    UOP Merox Process License Agreement, dated as of February 3, 1960, by and between Universal
        Oil Products Co. and Hess Trading and Transport.



                                                   41
        Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 43 of 53



 113.     Vendor Terms, dated as of September 16, 2019, by and between McDonough Construction Rentals
          Inc. and Limetree Bay Refining, LLC.


(xi)

       1. Offer Letter, dated as of October 10, 2018, by and between Dustin Dunbar and Limetree Bay
          Terminals, LLC.


(b)

[None.]




                                                    42
      Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 44 of 53



                                    Schedule 4.8

                             Intellectual Property Rights

(a)

Copyrights:

None.

Patents:

None.

Trademarks:

None.

Domain Names:

None.



(b)

Not Applicable.




                                         43
    Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 45 of 53



                                 Schedule 4.9

                                 Tax Matters

None.




                                     44
 Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 46 of 53



                                          Schedule 4.11

                                     Compliance with Laws

1. The U.S. Department of Justice, Environmental Crimes Section is conducting an investigation into
   possible violations of the federal Clean Air Act in connection with certain emissions occurring at
   the Limetree Bay refinery. The DOJ’s investigation, which is ongoing, has included a voluntary
   document request, a voluntary tour of the Limetree Bay refinery, external digital images of the
   refinery taken pursuant to a warrant, and a request for voluntary interviews.

2. On or about November 11, 2021, the Occupational Safety and Health Administration issued
   citations to Limetree Bay Refining, LLC indicating that it had completed its investigation into
   alleged violations of the Occupational Safety and Health Act in connection with certain refinery
   operations occurring on or around May 12, 2021. OSHA issued citations which alleged “Serious”
   safety violations and fines totaling $259,407. Limetree Bay Refining, LLC’s review of the alleged
   violations and proposed fines is just underway, but we anticipate that the Company will formally
   or informally contest certain of the alleged violations and fines in meetings with OSHA in an effort
   to reduce the number of violations and total penalties.

3. The disclosures in Schedule 4.12 are incorporated herein by reference.




                                                45
      Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 47 of 53



                                                 Schedule 4.12

                                           Environmental Matters

List of Environmental Permits:

                   Permit Name                         Permit Number (if any)       Permit Holder

 Air Pollution Control Program - Authority to           STX-924-AC-PO-20        Limetree Bay Terminals,
 Construct and Permit to Operate (MARPOL                                          LLC/Limetree Bay
 Project)                                                                           Refining, LLC

 Air Pollution Control Program - Permit to Construct    STX-895-AC-PO-18        Limetree Bay Terminals,
 and Operate                                                                             LLC

 GT13-LSF Project PSD Permit                                     N/A              HOVENSA, L.L.C.

 Modified 1997 PSD Permit (Dated May 9, 2011)                    N/A              HOVENSA, L.L.C.

 Title V Permit (Part 70 Permit)                            STX-TV-003-10       Limetree Bay Terminals
                                                                                         LLC

 GT No. 10 Prevention of Significant Deterioration               N/A              HOVENSA, L.L.C.
 (PSD) of Air Quality Permit (Amended in 2007)

 Territorial Pollution Discharge Elimination System           VI0000019           HOVENSA, L.L.C.
 (Dated March 1, 2008)

 RCRA Hazardous Waste Permit                                VID 980536080         HOVENSA, L.L.C.

 Special Solid Waste Permit to Generate and/or                STX C-002           HOVENSA, L.L.C.
 Store, Treat and Dispose Used Oil



1. On June 7, 2011, HOVENSA L.L.C. entered into a consent decree (the “Consent Decree”) with the
   United States Environmental Protection Agency (“EPA”) and the U.S. Virgin Islands (“Virgin Islands”)
   resolving alleged Clean Air Act violations at the refinery when operated by HOVENSA. On August
   25, 2020, Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC entered into a modification
   of the 2011 Consent Decree with EPA and the Virgin Islands (“First Modification”). On April 8, 2021,
   EPA and the Virgin Islands moved for entry of the modified consent decree.

        a. On January 31, 2021, Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC
           submitted to EPA and the Virgin Islands a semi-annual progress report pursuant to Paragraph
           143 of the First Modification for the period between July 1, 2020 and December 31, 2021.

        b. On January 31, 2021, Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC
           submitted to EPA and the Virgin Islands a semi-annual report pursuant to the consent decree
           relating to equipment leaks for the period between July 1, 2020 and December 31, 2020.




                                                       46
     Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 48 of 53



       c. On July 30, 2021, Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC submitted
          to EPA and the Virgin Islands a semi-annual report pursuant to the consent decree relating to
          equipment leaks for the period between January 1, 2021 and June 30, 2021.

       d. On July 30, 2021, Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC submitted
          to EPA and the Virgin Islands a semi-annual progress report pursuant to Paragraph 143 of the
          First Modification for the period between January 1, 2021 and June 30, 2021.

       e. On August 30, 2021, Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC reported
          to EPA pursuant to Paragraph 92 of the First Modification of the Consent Decree.

       f.   On October 14, 2021, Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC reported
            to EPA pursuant to Subparagraph 50.C.b of the First Modification of the Consent Decree.

2. On January 11, 2021, Limetree Bay Refining, LLC reported under the Emergency Planning and
   Community Right to Know Act (“EPCRA”) to the Department of Planning & Natural Resources for
   the Virgin Islands (“DPNR”) and EPA emissions from the refinery between December 27, 2020 and
   January 1, 2021.

3. On January 22, 2021, Limetree Bay Refining, LLC reported under EPCRA to DPNR and EPA
   emissions from the refinery between January 6-21, 2021.

4. On January 29, 2021, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC submitted a
   Continuous Emissions Monitoring Systems (“CEMS”) semi-annual report relating to the gasoline
   loading rack for the period between July 1, 2020 and December 31, 2021.

5. On January 29, 2021, Limetree Bay Refining, LLC submitted an annual report for benzene waste
   operations under NESHAPS Subpart FF, 40 CFR 61.357(d)(8) for 2020.

6. On January 29, 2021, Limetree Bay Refining, LLC submitted a quarterly report for benzene waste
   operations under NESHAPS Subpart FF and the First Modification for the period October 1, 2020
   through December 31, 2020.

7. On January 30, 2021, Limetree Bay Refining, LLC reported under Clean Air Act NSPS 40 CFR 60,
   Subparts D, Db, J, Ja, GG, and KKKK for the refinery between July 1, 2020 and December 31, 2020.

8. On February 12, 2021, Limetree Bay Refining, LLC reported under EPCRA to DPNR and EPA
   emissions from the refinery between January 22, 2021 and February 10, 2021.

9. On February 23, 2021, Limetree Bay Refining, LLC reported under EPCRA to DPNR and EPA
   emissions from the refinery between February 12-19, 2021.

10. On February 26, 2021, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC submitted a
    report to DPNR and EPA identifying deviations from Title V Permit No. STX-TV-003-10 for the period
    July 1, 2020 through December 31, 2020.

11. On March 17, 2021, Limetree Bay Refining, LLC reported under EPCRA to the DPNR and EPA
    emissions from the refinery between February 28, 2021 and March 4, 2021.




                                                 47
      Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 49 of 53



12. On April 1, 2021, EPA sent an information request to Limetree Bay Refining, LLC and Limetree Bay
    Terminals, LLC under Section 114 of the Clean Air Act requesting information regarding operations at
    the refinery.

13. On April 8, 2021, Limetree Bay Refining, LLC reported under EPCRA to the DPNR and EPA
    emissions from the refinery between March 18, 2021 and March 30, 2021.

14. On April 30, 2021, EPA sent an information request to Limetree Bay Refining, LLC and Limetree Bay
    Terminals, LLC under Section 114 of the Clean Air Act requesting additional information regarding
    operations at the refinery.

15. On May 14, 2021, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC received a Clean
    Air Act Section 303 Emergency Order from EPA requesting information pursuant to the Clean Air Act,
    42 U.S.C. §§ 7401 et seq. and a Notice of Violation from EPA (CAA-02-2021-1306). Pursuant to the
    Order, EPA required four separate audits of the refinery by independent consultants, which were
    completed and submitted on June 25, 2021 to Limetree Bay Refining, LLC and EPA. On July 12, 2021,
    EPA filed a complaint against Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC
    concerning these alleged violations.

16. The United States Department of Justice and EPA have been conducting a criminal investigation of
    Limetree Bay Refining relating to the incidents described in the Section 303 Order, events related to
    the shutdown of the refinery, and procedures, training, and operations of the refinery.

17. In letters dated April 12, 2021; May 18, 2021; and August 31, 2021; EPA identified alleged deficiencies
    in Limetree Bay Terminals’ and Limetree Bay Refining’s Spill Prevention, Control, and
    Countermeasure (“SPCC”) Plan and Facility Response Plan (“FRP”) requirements.

18. On June 10, 2021, the U.S. Chemical Safety and Hazard Investigation Board sent Limetree Bay
    Refining, LLC letters regarding incidents at the refinery on February 4, 2021 and May 12, 2021.

19. On June 14, 2021, Limetree Bay Refining, LLC reported under EPCRA to DPNR and EPA emissions
    from the refinery between April 19-24, 2021

20. On June 16, 2021, EPA sent Limetree Bay Refining, LLC a notice of violation under Section 113(a) of
    the Clean Air Act regarding monitoring of sulfur dioxide at the refinery.

21. On July 2, 2021, Limetree Bay Refining, LLC reported under EPCRA to DPNR and EPA emissions
    from the refinery between December 31, 2020 and May 9, 2021.

22. On July 30, 2021, Limetree Bay Refining, LLC submitted a Refinery MACT II Semi-Annual
    Compliance Report under the Clean Air Act for the period between January 1, 2021 through June 30,
    2021.

23. On July 30, 2021, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC submitted a
    Continuous Emissions Monitoring Systems (“CEMS”) quarterly report under its Title V Permit No.
    STX-TV-003-10 for the period between April 1, 2021 and June 30, 2021.

24. On August 13, 2021, EPA sent Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC a notice
    of potential violations of Sections 301(a), 308 and 402 of the Clean Water Act under TPDES Permit
    No. VI 0000019.


                                                    48
      Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 50 of 53



25. On August 30, 2021, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC submitted a
    report to DPNR and EPA identifying deviations from Title V Permit No. STX-TV-003-10 for the period
    January 1, 2021 through June 30, 2021.

26. On December 2, 2021, Limetree Bay Refining, LLC and Limetree Bay Terminals, LLC submitted a
    report to EPA regarding a root cause analysis of benzene emissions at the facility.

27. Limetree Bay Refining, LLC may have released or caused to be released tar, coke, sulfides, oil, or other
    petroleum products, derivatives, or waste products into the environment as the result of its operations
    between October 2020 and May 2021.




                                                    49
     Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 51 of 53



                                     Schedule 4.14

                                       Litigation

Pending Actions:

 Plaintiff's Name     Defendant                 Style of Case         Complaint Date
 Ducreay, Isaiah      Inserv Field Services     SX-20-CV-637,         July 8, 2020
                      USVI, LLC and             Superior Court of
                      Limetree Bay Refining,    the Virgin Islands
                      LLC
 Hendricks, Vanessa   Pinnacle Services, LLC,   Case No. 01-20-       March 16, 2020
                      et al.                    0003-8191,
                                                American
                                                Arbitration
                                                Association
 Perales, Jose L.     Limetree Bay Ventures,    Charge No. 515-       September 2019
                      LLC                       2021-0004
                                                EEOC
                                                San Juan, PR

                                                Charge No. 515-
                                                2021-00151
                                                EEOC
                                                San Juan, PR


 Williams, Kleaton    Limetree Bay              SX-2020-CV-00776      November 6, 2020
                      Terminals, LLC            Superior Court
                                                U.S. Virgin Islands

 Randolph, Marius     Limetree Bay              SX-18-CV-047          November 18, 2017
                      Terminals, LLC, et al.    Superior Court of     (Date of Alleged
                                                U.S. Virgin Islands   Incident)

 McKowen, Thomas A.   Limetree Bay Ventures,    EEOC Charge No.       November 16, 2020
                      LLC                       515-2021-00060


 Magras, Luis         National Industrial       SX-2017-CV-00435      December 8, 2017
                      Services, LLC, Pinnacle   Superior Court of     (Complaint)
                      Services, LLC and         U.S. Virgin Islands
                      Limetree Bay                                    March 4, 2021
                      Terminals, LLC                                  (Amended Complaint)
 Naiasha John         Limetree Bay Terminal,    Charge No. 16:-       August 29, 2018
                      LLC                       2018-0021
                                                EEOC




                                           50
     Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 52 of 53




 Plaintiff's Name           Defendant                   Style of Case           Complaint Date
 Incident Report            Limetree Bay Refining,     QBE Policy               December 7, 2020
                            LLC                        Contract #
                                                       B0509BOWCN1800
                                                       772
 Flare Incident             [Limetree Refining]        Incident at Flare Unit   February 4, 2021
                                                       #8


 Unipec Arbitration



 Altair Strickland V.I.,    Limetree Bay Refining,     Cause No. 2021-CV-       May 21, 2021
 LLC                        LLC                        00415


 Director of the            Limetree Bay Refining,     CAA-02-2021-1307         June 16, 2021
 Enforcement and            LLC
 Compliance Assurance
 Division (ECAD) for the
 United States
 Environmental Protection
 Agency (EPA) – Issued a
 Notice of Violation


Threatened Actions:

   1. The disclosures in Schedule 4.12 are incorporated herein by reference.

   2. Demand Notice, dated as of November 19, 2018 sent by Dooling Machine Products VI LLC
      demanding a total of $2,016,286.46 pursuant to the Term Services Agreement, dated as of June 7,
      2018, by and between Limetree Bay Refining, LLC, and Dooling Machine Products VI LLC, as
      amended by Addendum 1, dated as of October 1, 2018.

   3. Demand Letter Demanding Written Assurances for outstanding payments, dated as of July 1, 2021,
      sent by Axens North America, Inc. pursuant to amounts owed under the License Agreement, dated
      as of November 21, 2018, by and between Limetree Bay Refining, LLC and Axens North America,
      Inc.

   4. Demand Letter, dated as of June 10, 2021, from Elite Turnaround Specialists, Ltd regarding
      amounts owed by Limetree Bay Refining, LLC for work performed under The Term Services
      Agreement, dated as of July 2, 2018. As of June 10, 2021, the total amount currently invoiced and
      not yet paid by Limetree under the Agreement was $15,865,444.60.

   5. Correspondence from Stanton Chase International dated June 16, 2021, regarding outstanding
      invoices in the amounts of $372,000.



                                                  51
     Case 21-32351 Document 857-4 Filed in TXSB on 12/03/21 Page 53 of 53



   6. Demand letter, dated as of June 3, 2021, on behalf of Acuren Inspection, Inc., demanding
      outstanding amount of $208,109.82 pursuant to the Terms Services Agreement, dated as of January
      22, 2016, by and among Acuren Inspection, Inc., Limetree Bay Refining, LLC and Limetree Bay
      Terminals, LLC, as amended by Amendment and Joinder, dated as of January 1, 2019.

   7. Letters dated May 20, 2021 and June 2, 2021, from InServ Field Services USVI, LLC, regarding
      dispute resolution for failure to abide by the terms of the Term Services Agreement, dated as of
      June 20, 2018, by and between Limetree Bay Refining, LLC, and InServ Field Services USVI,
      LLC, amended by Addendum No. 1, dated as of October 1, 2018, as further amended by Addendum
      1a, dated as of February 11, 2019, as further amended by Addendum No. 2, dated as of October 31,
      2019, as further amended by Addendum No. 3, dated as of October 31, 2019, and as further
      amended by Addendum No. 5, dated as of January 1, 2021.

   8. Letter dated June 9, 2021, from Savage Services Corporation, regarding notice of failure to pay and
      intent to suspend services in connection with Petroleum Coke and Sulphur Services Agreement,
      dated July 10, 2019, by and between Savage St. Croix, LLC and LimeTree Bay Refining, LLC. As
      of June 8, 2021, the outstanding invoices due to Savage is $3,064,819.54.

Pending Investigations:

   1. The U.S. Department of Justice, Environmental Crimes Section is conducting an investigation into
      possible violations of the federal Clean Air Act in connection with certain emissions occurring at
      the Limetree Bay refinery. The DOJ’s investigation, which is ongoing, has included a voluntary
      document request, a voluntary tour of the Limetree Bay refinery, external digital images of the
      refinery taken pursuant to a warrant, and a request for voluntary interviews.

   2. On or about November 11, 2021, the Occupational Safety and Health Administration issued
      citations to Limetree Bay Refining, LLC indicating that it had completed its investigation into
      alleged violations of the Occupational Safety and Health Act in connection with certain refinery
      operations occurring on or around May 12, 2021. OSHA issued citations which alleged “Serious”
      safety violations and fines totaling $259,407. Limetree Bay Refining, LLC’s review of the alleged
      violations and proposed fines is just underway, but we anticipate that the Company will formally
      or informally contest certain of the alleged violations and fines in meetings with OSHA in an effort
      to reduce the number of violations and total penalties.




                                                   52
